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                                                                     Friday, 27 September, 2019 08:55:50 PM
                                                                                 Clerk, U.S. District Court, ILCD

                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         CENTRAL DISTRICT OF ILLINOIS
                               URBANA DIVISION

DERICK BROWN, ATIBA FLEMONS, and
JEFFREY TAYLOR,                                           No. 2:19-cv-02020-CSB-EIL

                       Plaintiffs,

       v.

THE BOARD OF TRUSTEES OF THE
UNIVERSITY OF ILLINOIS,

                       Defendant.

                 ANSWER TO CLASS ACTION AMENDED COMPLAINT

       Defendant The Board of Trustees of the University of Illinois (“University”), by and

through their undersigned attorneys, hereby answer the Amended Complaint (“Complaint”) of

Plaintiffs Derick Brown, Atiba Flemons, and Jeffrey Taylor, and state their affirmative defenses

as follows:

                         STATUTES, JURISDICTION AND VENUE
       1.      Plaintiffs bring this putative class action under Title VII of the Civil Rights Act of

1964, 42 U.S.C. 2000e, et seq. (“Title VII”) and the Illinois Civil Rights Act of 2003, 740 ILCS

23/5 (“ICRA”).

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent it contains factual allegations, University admits that Plaintiffs purport to proceed as set

forth therein and otherwise denies the remaining allegations in this paragraph.

       2.      This Court has subject matter jurisdiction over the Title VII claims pursuant to 28

U.S.C. § 1331, and 28 U.S.C. § 1343(a)(4), and supplemental jurisdiction over the ICRA claims

pursuant to 28 U.S.C. § 1367.
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       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent it contains factual allegations, University admits that Plaintiffs purport to invoke this

Court’s jurisdiction as set forth therein and otherwise denies the remaining allegations in this

paragraph.

       3.      Pursuant to 42 U.S.C. Sec. 2000e-5(f)(3), venue is proper in the Urbana Division

of the Central District of Illinois because a substantial part of the employment practices alleged

herein to be unlawful were committed within this judicial district.

       ANSWER:

        This paragraph contains legal conclusions to which no response is required, but to the

extent it contains factual allegations, University admits that Plaintiffs purport to invoke venue as

set forth therein and otherwise denies the remaining allegations in this paragraph.

                                  NATURE OF THIS ACTION
       4.      Plaintiffs Brown, Flemons, and Taylor (hereinafter “Class Representatives” or

“Named Plaintiffs”) file this Amended Complaint as a putative class action against the

University of Illinois Board of Trustees.

       ANSWER:

       University admits that Plaintiffs have styled the Amended Complaint as a putative class

action, but denies such claims are properly asserted.

       5.      The Class Representatives allege that the University is in violation of Title VII

and ICRA.

       ANSWER:

       University denies the allegations in this paragraph.

       6.      The Class Representatives seek to represent a class or classes comprised of

former, current, and future black employees at the University of Illinois’ campuses (referred to

collectively as the “University”), excluding University officers with authority to make policy




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concerning discrimination, who have been subjected to one or more of the discriminatory

policies or practices described in this Amended Complaint.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent it contains factual allegations, University admits that Plaintiffs purport to seek to represent

a class of people or certain classes as set forth in the Amended Complaint. University further

denies any and all other allegations in this paragraph.

       7.      The Class Representatives seek declaratory and injunctive relief; compensatory

damages; and attorneys’ fees, costs, and expenses to eliminate the University’s policy of racial

harassment and to make victims whole.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent it contains factual allegations, University admits that Plaintiffs purport to seek the relief

set forth herein and otherwise deny they are entitled to any such relief. University further denies

any and all other factual allegations in this paragraph.

                                             PARTIES

A.     Plaintiffs
       8.      Plaintiffs are black employees of the University.

       ANSWER:

       University admits the allegations in this paragraph.

       9.      Plaintiffs are employees of the University within the meaning of Title VII.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required.

       10.     Derick Brown is employed as a Machinist in the Facilities and Services (F&S)

department at UIUC. Brown has worked at the University since 2006.

       ANSWER:

       University admits the allegations contained in this paragraph.


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       11.     Atiba Flemons is employed as a Brick Mason in F&S at UIUC. Flemons worked

for the University from 2008 to 2009 when he was laid off, and again from 2011 to present.

       ANSWER:

       University admits the allegations contained in this paragraph.

       12.     Jeffrey Taylor is employed as a Culinary Worker III in the Dining department at

UIUC. Taylor has worked at the University since 2015.

       ANSWER:

       University admits the allegations contained in this paragraph.

B.     Defendant
       13.     The University of Illinois is a public institution of higher education under the

authority of the State of Illinois Compiled Statutes. 110 ILCS 205 Sec. 1(a).

       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent this paragraph contains factual allegations, University admits that it is a public institution

of higher education.

       14.     The Board of Trustees is the governing body of the University of Illinois and is a

corporate body and a political subdivision under the authority of the State of Illinois Compiled

Statutes. 110 ILCS 305 Sec. 1.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent it contains factual allegations, University admits the allegations contained in this

paragraph.

       15.     The University of Illinois has campuses in Urbana-Champaign (“UIUC”),

Chicago (“UIC”), and Springfield (“UIS”), in addition to several regional campuses in Illinois

that specialize in specific educational curricula.

       ANSWER:

       University admits the allegations contained in this paragraph.


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       16.     The University is an employer within the meaning of Title VII.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required.

                                   PROCEDURAL HISTORY

A.     Administrative Exhaustion
       17.     Class Representatives exhausted their administrative remedies prior to filing their

Complaint, Dkt. 1.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent it contains factual allegations, University denies the allegations contained in this

paragraph.

       18.     Class Representative Brown timely filed a Charge of Discrimination against the

University with the Equal Employment Opportunity Commission (“EEOC”) on behalf of himself

and a class of similarly-situated persons on December 19, 2017, alleging, inter alia, hostile work

environment based on race and retaliation.

       ANSWER:

       University denies the allegations contained in this paragraph.

       19.     On December 13, 2018, Brown received a Notice of Right to Sue from United

States Department of Justice (“DOJ”).

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph and on that basis denies them.

       20.     Class Representative Flemons timely filed a Charge of Discrimination with the

EEOC against the University on behalf of himself and a class of similarly-situated persons on

February 2, 2017, which was amended on May 18, 2017, alleging, inter alia, hostile work

environment based on race, disparate treatment, and retaliation.




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        ANSWER:

        University denies the allegations contained in this paragraph.

        21.    On May 25, 2018, Flemons received a Notice of Right to Sue from the DOJ.

        ANSWER:

        University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph and on that basis denies them.

        22.    Class Representative Taylor timely filed a Charge of Discrimination against the

University with the EEOC on behalf of himself and a class of similarly-situated persons on July

19, 2018, alleging, inter alia, hostile work environment based on race, disparate treatment, and

retaliation.

        ANSWER:

        University denies the allegations in this paragraph.

        23.    Following a period of 180 days after filing his Charge, the EEOC had not yet

issued Taylor a Notice of Right of Sue. Taylor requested a Notice of Right to Sue on January 16,

2019, to which he is entitled.

        ANSWER:

        This paragraph contains legal conclusions to which no response is required, but to the

extent it contains factual allegations, University lacks knowledge or information sufficient to

form a belief as to the truth of the allegations in this paragraph and on that basis denies them.

        24.    On February 5, 2019, the EEOC indicated it was forwarding Taylor’s request for

a Notice of Right to Sue to the DOJ.

        ANSWER:

        University lacks knowledge or information sufficient to form a belief as to the truth of the

allegation in this paragraph and on that basis denies them.

B.      Tolling Agreement
        25.    On August 21, 2017, the Parties entered into an agreement (“Tolling

Agreement”), which tolled all applicable statutes of limitations and filing requirements with


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respect to, inter alia, harassment, disparate treatment, and retaliation claims for several

University employees, including Class Representatives Brown, Flemons, and Taylor.

       ANSWER:

       The allegations in this paragraph state legal conclusions to which no response is required.

To the extent a response is required, the University admits it entered into a Tolling Agreement.

University denies all other allegations in this paragraph.

       26.     The Tolling Agreement continued through and including January 29, 2019.

       ANSWER:

       University admits the allegations in this paragraph.

       27.     Plaintiffs timely filed their Complaint, Dkt. 1, on January 28, 2019.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent any response is required, University admits that Plaintiffs filed their Complaint on January

28, 2019, but denies that all of the claims Plaintiffs purport to set forth therein are timely.

                    UNIVERSITY’S ORGANIZATIONAL STRUCTURE
       28.     The University of Illinois is governed by the University President and the Board

of Trustees.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required.

       29.     Timothy L. Killeen is the President of the University of Illinois.

       ANSWER:

       University admits the allegations in this paragraph.

       30.     Dedra M. Williams is the Secretary of the Board of Trustees and Secretary of the

University Counsel’s office.

       ANSWER:

       University admits the allegations in this paragraph.




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        31.     The University of Illinois’ campuses are governed by campus Chancellors who

report directly to the President and Board of Trustees.

        ANSWER:

        This paragraph contains legal conclusions to which no response is required.

        32.     Robert J. Jones is the Chancellor of UIUC.

        ANSWER:

        University admits the allegations in this paragraph.

        33.     Barb Wilson is the former Interim Chancellor of UIUC.

        ANSWER:

        University admits that Barb Wilson formerly served as Interim Chancellor of UIUC.

        34.     Michael D. Amiridis is the Chancellor of UIC.

        ANSWER:

        University admits the allegations in this paragraph.

        35.     Susan J. Koch is the Chancellor of UIS.

        ANSWER:

        University admits the allegations in this paragraph.

        36.     The University’s campuses have several “units” or departments whose directors

report to the campus Chancellors.

        ANSWER:

        University denies the allegations in this paragraph.

        37.     Each University campus maintain [sic] an Office for Access and Equity unit,

which report directly to the campus Chancellor. 1




1
 Until late-2017, the Office of Access and Equity at UIUC was called the Office of Diversity, Equity, and
Access, abbreviated ODEA. At UIS, the sister-office to UIUC’s and UIC’s OAE offices, is called the
Office for Access and Equal Opportunity, but will be abbreviated herein as OAE.


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       ANSWER:

       University admits each campus maintains an Office for Access and Equity, but denies the

remaining allegations in this paragraph.

       38.     The University’s OAE offices are the senior organizations at each campus

charged with investigating complaints of racial harassment (and all other forms of

discrimination), determining whether the University’s Nondiscrimination Policy (the “NDP”)

was violated, and the appropriate response to any violations.

       ANSWER:

       University admits that OAE offices are organizations at each campus with responsibilities

to investigate complaints alleging the violation of certain University policies. University denies

the remaining allegations in this paragraph.

       39.     The University of Illinois maintains one central human resources department,

University or System Human Resources, which has offices on each campus.

       ANSWER:

       University denies the allegations in this paragraph.

       40.     There are three primary groups of employees at the University: Faculty,

Academic Professionals, and Civil Service employees.

       ANSWER:

       University denies the allegations in this paragraph.

       41.     The University NDP applies to all three employee groups.

       ANSWER:

       University denies the allegations in this paragraph.

       42.     Academic Professionals are members of the academic and administrative staff

“whose positions have been designated by the President and the Chancellor as meeting

specialized administrative, professional, and/or technical needs, in accordance with Article IX of

the University of Illinois Statutes.”




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          ANSWER:

          University admits the allegations in this paragraph.

          43.        Civil Service employees “fulfill clerical, technical, support, service, crafts, trades,

and professional roles throughout [the University]. Their titles are defined under a classification

system governed by the Illinois State Universities Civil Service System.”

          ANSWER:

          University admits the allegations in this paragraph.

                                                   I.         CLASS CLAIMS

                                RACIAL HARASSMENT IS THE
                       UNIVERSITY’S STANDARD OPERATING PROCEDURE
          44.        University supervisors and other employees frequently use racial slurs and

offensive stereotypes, calling black employees “n*ggers,” “boy,” “monkeys,” “lazy,” “angry,”

“rowdy,” and “Aunt Jemima,” and other offensive racial language.

          ANSWER:

          University denies the allegations in this paragraph.

          45.        Class members are exposed to threats of racial violence, such as nooses,
swastikas, KKK garb, racist graffiti, and confederate flags, including the noose and swastika

pictured here:




 (Noose that a white Groundworker tied and threw in front of a black      (Swastika that a black Dining employee found in the bathroom of
 Groundworker seated at the table in F&S in April 2016)                   the Food Stores building in December 2016)




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       ANSWER:

       University denies the allegations in this paragraph.

       46.     University supervisors and employees also excessively monitor, scrutinize,

belittle, and disrespect class members, and treat them as less credible and capable than white

employees.

       ANSWER:

       University denies the allegations in this paragraph.

       47.     The University’s standard operating procedure is racial harassment of class

members, implemented by the following:

               a)     The University has a policy of allowing racial harassment unless it is

                      “sufficiently severe or pervasive,” “objectively offensive,” and

                      “unreasonably interferes with, denies, or limits a person’s ability to

                      participate or benefit from employment opportunities, assessments or

                      status at the University;”

               b)     The Director of the University’s OAE department at UIUC openly directs

                      racial slurs and stereotypes at black subordinates, and the University’s

                      OAE department at UIUC is itself rife with internal racial harassment. As

                      a consequence, the University’s senior anti-bias unit at UIUC instead acts

                      as an agent of bias;

               c)     The University maintains a pattern or practice of intentionally avoiding

                      finding that racial harassment constitutes a violation of its NDP. To this

                      end, the University’s Human Resources and OAE departments, along with

                      senior leadership at the University, (i) ignore racial harassment

                      complaints; (ii) fail to initiate investigations into complaints it

                      acknowledges receiving; (iii) suggests complainants engage in dispute

                      resolution, without explaining they have the right to an investigation,




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                        defeating OAE’s purpose to root out discrimination; and/or (iv) do not

                        conduct bona fide investigations into complaints of racial harassment.

        ANSWER:

        University denies the allegations in this paragraph.

        48.      By design, the University’s written NDP, as evidenced by UIUC’s and UIS’s

published definitions and procedures (discussed below), not only fails to deter racial harassment,

it permits it.

        ANSWER:

        University denies the allegations in this paragraph.

        49.      As a consequence, any black employee understands that she or he may be

subjected to racial degradation and symbols of racial violence at any time, and that the

University will provide no remedial assistance or protection from further racial harassment. This

makes the University a racially hostile work environment.

        ANSWER:

        University denies the allegations in this paragraph.

A.      The University’s Racial Harassment Policy in Action
        50.      Evidencing the existence of an actual policy of racial harassment, the University

maintains written definitions of harassment, which demonstrate how its NDP permits a threshold

level of racial harassment.

        ANSWER:

        University denies the allegations in this paragraph.

        51.      By way of example and not limitation, UIUC defines harassment that violates the

NDP as:

        A form of discrimination and unwelcome conduct based on an individual’s status
        within a Protected Classification. The unwelcome conduct may be verbal, written,
        electronic or physical in nature. This policy is violated when the unwelcome
        conduct is based on one or more of the protected classifications (defined below),
        and is either: (1) sufficiently severe or pervasive; and (2) objectively offensive; and
        (3) unreasonably interferes with, denies, or limits a person’s ability to participate


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       or benefit from educational or employment opportunities, assessments, or status at
       the University. . . .



       ANSWER:

       This paragraph appears to contain a partial quote from a University document. That

document provides the complete statement. University denies any remaining allegations in this

paragraph.

       52.       UIS’s written sexual harassment policy, which is the only guidance published by

UIS concerning its definition of harassment, suffers from virtually the same basic faults as

UIUC’s.

       ANSWER:

       University denies the allegations in this paragraph.

       53.       UIS’s definition of sexual harassment only prohibits it to the extent the

harassment is:

       . . . [a] based on sex, sexuality, Gender Identity, Gender Expression, or Sexual
       Orientation; . . . [b] sufficiently serious (i.e., severe, pervasive, or persistent) and
       objectively offensive so as to deny or limit a person’s ability to participate in or
       benefit from UIS’s programs, services, opportunities, or activities ; or c) Ha[s] the
       purpose or effect of unreasonably interfering with an individual’s employment.

       ANSWER:

       This paragraph appears to contain a partial quote from a University document. That

document provides the complete statement. University denies any remaining allegations in this

paragraph.
       54.       These three elements that the University employs to determine whether

harassment violates its NDP are among the burdens of proof a Title VII plaintiff faces in court.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent any response is required, University denies the allegations in this paragraph.




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       55.     “Severe or pervasive,” the first element, is the factual showing a plaintiff must

make under Title VII—in court—in order to establish that the harassment unreasonably

interfered with the plaintiff’s ability to perform his or her job, the third element, and therefore

altered the terms or conditions of employment. By requiring separate proof of the third element,

the University places a greater burden of proof on a University employee seeking an

investigation and remedial action than a Title VII plaintiff faces in court.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent any response is required, University denies the allegations in this paragraph.

       56.     Requiring complainants to make out the same elements of a Title VII case

required in court (or more), frustrates the purpose of investigation of an alleged violation of the

NDP.

       ANSWER:

       University denies the allegations in this paragraph.

       57.     Internal employer investigations of racial harassment are required by Title VII to

facilitate reporting and remediation of racial harassment before it becomes severe or pervasive:

       Ellerth/Faragher is also designed to incentivize employees in a way that delivers
       on Title VII’s “primary objective,” which is “not to provide redress but to avoid
       harm.” Faragher, 524 U.S. at 806... Indeed, Ellerth observed that the considerations
       relevant to determining the scope of employer liability for a supervisor’s
       harassment include Title VII’s deterrent purpose of “encourag[ing] employees to
       report harassing conduct before it becomes severe or pervasive.” Ellerth, 524 U.S.
       at 764.

Alalade v. AWS Assistance Corp., 796 F. Supp. 2d 936, 945 (N.D. Ind. 2011).

       ANSWER:

       This paragraph appears to quote certain case law and is therefore not a proper allegation

of a complaint. Beyond this, the paragraph contains legal conclusions to which no response is

required. To the extent any response is required, University denies the allegations in this

paragraph.



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        58.      Contrary to the policy behind Title VII, by requiring proof of those three elements

in order to corroborate a complaint of racial harassment as a prerequisite to remedial action, the

University makes it pointless to report racial harassment until after it has become severe or

pervasive, since proof of that element, and others, is required under the NDP.

        ANSWER:

        University denies the allegations in this paragraph.

        59.      The University is aware that its NDP is toothless to prevent or address

harassment. In a recently published report discussed below, the University acknowledged that its

anti-harassment standard “closely parallels the standard that would applying a civil damages

action . . . Thus, if the University could act only in cases where the actor’s conduct satisfied this

standard, it would be powerless to intervene until the actor’s conduct had exposed the University

to civil liability.”

        ANSWER:

        University denies the allegations in this paragraph.

        60.      Also, if the victim waits to report the harassment until it has become severe or

pervasive, the University may be permitted under Title VII to escape liability if it can show the

alleged victim unreasonably failed to timely utilize an available complaint procedure under the

NDP.

        ANSWER:

        This paragraph contains legal conclusions to which no response is required. To the

extent any response is required, University denies that the allegations in this paragraph

accurately and fairly reflect the law and/or how it might be applied to any particular situation, the

specific circumstances of which are not set forth.

        61.      In addition, since all three elements must be proved, the NDP explicitly permits

racial harassment that is not objectively offensive, even if it is severe or pervasive.

        ANSWER:

        University denies the allegations in this paragraph.


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       62.     Even where the racial harassment meets the first and second elements, it is still

not deemed a violation of the NDP, unless it interferes with the victim’s ability to participate in

or benefit from his or her employment (i.e., perform his or her job). For example, the NDP would

permit a supervisor to address black subordinates as n*gers, or menace them with a hangman’s

noose, so long as the subordinates are able function on the job. Class members who need to feed

families will put up with a lot. By the time they are no longer able to function, they may have

suffered permanent harm.

       ANSWER:

       University denies the allegations in this paragraph.

       63.     The University requires that criteria (1) through (3) be proved by the

“preponderance of the evidence” standard, which requires that the evidence offered to support

his claim must be more convincing than any evidence offered to refute that claim. Congress

intended that this standard apply in court—where the alleged victim has all of the rights and

powers of a plaintiff—not in an employer’s internal investigation where the employee has none

of those rights and powers and the employer acts as judge and jury.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent this paragraph contains factual allegations, University denies them.

       64.     Rather than furthering the goals of anti-discrimination laws, these policies favor

racial harassment. They stack the deck against corroboration of complaints, which deters

reporting and makes it unlikely that racial harassers will face consequences for their actions.

Thus, these policies embolden racial harassers, and encourage others to follow their lead.

       ANSWER:

       University denies the allegations in this paragraph.

       65.     In an OAE investigation controlled by the employer, the victim is dependent on

the employer to review evidence primarily within its own control, and then reach a conclusion

whether the plaintiff was the victim of racial harassment. Evidence such as coworker interview


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notes or whether the alleged harasser has been the subject of previous complaints, and the

outcome of OAE’s investigation (if any), is not made available to the employee.

        ANSWER:

        University denies the allegations in this paragraph.

        66.     By contrast, the Title VII plaintiff has the power of liberal discovery in court, to

compel testimony and production of documents from parties and non-parties, and most

importantly, the right to counsel. A neutral judiciary and applicable rules of evidence and

procedure provide the plaintiff an opportunity to present all relevant admissible evidence to a

neutral fact finder.

        ANSWER:

        This paragraph contains legal conclusions to which no response is required, and are

therefore denied.

        67.     As discussed below in Section I(C), no matter how overt the racial harassment,

the University almost never finds that it violates the NDP.

        ANSWER:

        University denies the allegations in this paragraph.

        68.     Title VII requires courts to consider the “totality of the circumstances,” in

determining whether the racial harassment is severe or pervasive, based on race, and/or

objectively offensive. The NDP does not, which makes it even more difficult for an employee to

receive a finding that the alleged racial harassment violated the NDP.

        ANSWER:

        This paragraph contains legal conclusions to which no response is required. To the

extent that it contains factual allegations, University denies those allegations.

        69.     The University typically looks at each individual harassing act in a vacuum,

divorced from the totality of the circumstances.

        ANSWER:

        University denies the allegations in this paragraph.


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       70.     As a consequence, it concludes racially motivated harassment is not racially

motivated because it ignores context.

       ANSWER:

       University denies the allegations in this paragraph.

       i.      Class Representative Flemons’ Experiences Demonstrate how the NDP Functions
               as an Actual Policy of Racial Harassment
       71.     During the relevant period, Class Representative Flemons was the only black

Brick Mason in the Masonry Department in F&S at UIUC. He reported to Bruce Rogers.

Rodgers began making offensive racial comments to Flemons in 2008.

       ANSWER:

       University denies the allegations in this paragraph.

       72.     In or about April 2012, Rogers’ prevented Flemons from attending a retirement

party at UIUC, which he permitted Flemons’ white coworkers to attend. In ordering Flemons

back to work, Rogers told him, “get your ass in the van” and patted the seat.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph and on that basis denies them.

       73.     Following this incident, Flemons had a meeting with a Human Resources

representative, Bruce Rogers, and Rogers’ supervisor. Flemons stated that he felt Rogers was

harassing him and that he treated him differently than his white coworkers. He described how

Rogers humiliated him, while allowing his white coworkers to attend a retirement party. Human

Resources took no action and the racial harassment continued.

       ANSWER:

       University denies the allegations in this paragraph.

       74.     In May 2012, Flemons reported to the University’s OAE department at UIUC that

Rogers had racially harassed him for years. Flemons told OAE that Rogers had suggested that

Flemons was only hired for diversity reasons and named white workers he would have hired over



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Flemons; referred to Flemons as a “big black guy” in Flemons’ and a white coworker’s presence

when assuring someone on his phone that he had sufficient manpower; implied Flemons and his

son had a genetic predisposition to stupidity; and frequently yelled and cursed at Flemons in

front of his coworkers, disparaged his skills, and excessively scrutinized his work and daily

movements, among other harassment. Rogers did not treat white workers this way.

       ANSWER:

       University denies the allegations in this paragraph.

       75.       Pursuant to University policy, it did not investigate Flemons’ claims, but instead

engaged Flemons and Rogers in “informal dispute resolution” or “mediation,” which was not

designed to determine whether Rogers had racially harassed Flemons and what remedial action

was necessary.

       ANSWER:

       University denies the allegations in this paragraph.

       76.       Although Flemons had complained to OAE about all of Rogers’ racial

harassment, as summarized above, during the mediation, OAE focused almost exclusively on

only one of Rogers acts of harassment (i.e., Rogers’ preventing Flemons from attending the

retirement party in a disparaging, offensive manner).

       ANSWER:

       University denies the allegations in this paragraph.

       77.       During the mediation, which was led by OAE Senior Associate Director

Kamilyah Abdullah-Span and included Flemons, Rogers, and an F&S human resources

representative, Rogers volunteered that he had only hired Flemons because he was forced to for

“diversity reasons.” This statement was not made in response to a question such as, “is it true

you told Flemons you only hired him to comply with diversity requirements.” Rogers

volunteered it to support his position, that his alleged harassment was actually valid performance

criticism.




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       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph and on that basis denies them.

       78.     The mediation failed to resolve Flemons’ dispute with Rogers. In fact, it made it

clear that Rogers was biased against black employees and thought nothing of disparaging

Flemons based on his race. Rogers racially disparaging “diversity” comment during the

mediation suggested that he did not believe (or care) that he was violating the NDP, since he said

in front of the second ranking manager of the University’s OAE department at UIUC. Any

reasonable person in Flemons’ situation would have left the mediation wondering whether

Rogers could make any racist statement he wanted without consequence.

       ANSWER:

       University denies the allegations contained in this paragraph.

       79.     After repeated complaints to OAE that Rogers was still treating him the same as

he had before the mediation, Flemons spoke to a colleague at F&S who informed him that he had

the right to ask for an investigation—something OAE never told Flemons.

       ANSWER:

       University denies the allegations contained in this paragraph.

       80.     In July 2012, Flemons requested that OAE investigate Rogers’ racial harassment.

       ANSWER:

       University admits the allegations contained in this paragraph.

       81.     In January 2013, OAE issued its Report on the investigation.

       ANSWER:

       University admits that it issued a Report in or about August 2012.

       82.     Rogers admitted to several of Flemons’ complaints, including calling him a “big

black guy.”




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       ANSWER:

       University is not aware of such admissions and on that basis denies the allegations

contained in this paragraph.

       83.     Notwithstanding that Rogers volunteered the racially derogatory “diversity”

comment in front of OAE Senior Associate Director Abdullah-Span, and the obvious inference

that was due such a statement, the University determined that Rogers’ conduct did not violate the

NDP.

       ANSWER:

       University denies the allegations contained in this paragraph.

       84.     The University determined that Rogers’ “big black guy” comment, alone, was not

severe or pervasive. The Report simply ignored Rogers’ other racial insults and disparaging

treatment, which were evidence of pervasive racial harassment. Rather than consider the totality

of the circumstances, it looked at the “big black guy” comment in a vacuum and simply ignored

the “diversity comment.” See infra Section I(C)(iii) (detailing that the University conducts bad

faith investigations, ignores material evidence, and refuses to consider the totality of the

circumstances during harassment investigations in order to avoid making discrimination

findings).

       ANSWER:

       University denies the allegations contained in this paragraph.

       85.     The University concluded Rogers’ other mistreatment was not motivated by race,

by walling off his “big black guy” comment. This statement, along with the “diversity”

comment, implied Rogers was biased against blacks—an implication further supported by the

fact that Flemons was the only black employee reporting to Rogers at that time.

       ANSWER:

       University denies the allegations contained in this paragraph.

       86.     Rogers evident bias should have provided the context to understand that his

constant belittling of Flemons was racially motivated. The same is true of his stereotyping


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Flemons and his son as stupid. In that context, the University should not have struggled to credit

Flemons’ complaint that Rogers abused him due to his race.

       ANSWER:

       University denies the allegations contained in this paragraph.

       87.     Because the University found that Rogers’ conduct did not violate the NDP, he

continued to racially harass Flemons. As a consequence, Rogers’ subordinates began to follow

his lead, and began calling him racial stereotypes, such as “lazy.”

       ANSWER:

       University denies the allegations contained in this paragraph.

       ii.     Class Representative Derick Brown’s Experiences Demonstrate How the NDP
               Functions as an Actual Policy of Racial Harassment
       88.     Plaintiff Derick Brown worked in the Machine department in F&S at UIUC where

he was the only black employee. He has worked at the University as a Machinist since 2006. On

at least three occasions beginning in late-2016 or early-2017, Brown complained to Assistant

Superintendent of Operation Maintenance Ken Bunting, and Associate Director of Operations,

Maintenance, and Alterations Dave Bang—both in F&S management at UIUC. Brown

complained that his supervisor, Chris McCoy, called him “boy,” “lazy” and “stupid,” insulted

and demeaned him, saying “after thirteen fucking years you should know how to do your job by

now,” gave him menial assignments, and did not treat his white coworkers in the same way. He

complained that when McCoy assigned him menial tasks, such as cleaning, his coworkers would

tease him for not doing real mechanical work. Brown reported that when three of his relatives

died in 2016, McCoy said, “I hope they get another coffin for you, that way you won’t come

back.” By contrast, Brown told Bunting and Bang, that when a white coworker experienced the

loss of a relative, the entire Department signed a sympathy card, which McCoy gave the

bereaved coworker.




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        ANSWER:

        University admits that Derick Brown worked in the Machine department in F&S at UIUC

and that he was, at times, the only black employee in that area. Illinois denies the remaining

allegations in this paragraph.

        89.    In his third complaint, Brown told McCoy’s supervisors that in August 2015,

Brown’s coworkers taunted him by fashioning a rag with eyes and mouths holes cut out to look

like a Ku Klux Klan hood, and that McCoy laughed when he witnessed this.

        ANSWER:

        University denies the allegations contained in this paragraph.

        90.    McCoy’s racial harassment continued.

        ANSWER:

        University denies the allegations contained in this paragraph.

        91.    In August 2017, Brown reported the racial harassment to the University’s OAE

department at UIUC.

        ANSWER:

        University admits that Brown at various times alleged racial harassment to University

officials. University denies the remaining allegations contained in this paragraph.

        92.    Brown identified a contractor, James Taylor, who did not work for the University

or report to McCoy, who had witnessed the Klan threat.

        ANSWER:

        University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

        93.    Taylor corroborated Brown’s account of the KKK incident in an interview with

OAE. Taylor provided Brown with an affidavit signed before a notary on August 31, 2017. It

stated that:

        The incident that happened at the transfer recovery faculty. I was a witness to an
        occurrence that involved a U of I employee (machinist). exhibited following: the
        U of I employee placed a rag cut out with eyes and mouth to represent the KKK.

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       My fellow employee, Kendrick Pratt (deceased) also witnessed this occurrence, and
       he also took pictures his cell phone. The U of I employees was laughing, they
       thought it was funny.

       ANSWER:

       University admits that this paragraph purports to represent the contents of a document.

The document speaks for itself. University denies the remaining allegations in this paragraph.

       94.     After signing, he wrote “P.S. any questions, contact me at,” and provided two

phone numbers. Below that, he drew this:




       ANSWER:

       University admits that this paragraph purports to represent the contents of a document.

The document speaks for itself. University denies the remaining allegations in this paragraph.

       95.     During OAE’s investigation, McCoy admitted telling Brown “after thirteen

fucking years you should know how to do your job by now.”

       ANSWER:

       University denies the allegations contained in this paragraph.

       96.     Every witness that OAE interviewed corroborated the fact that McCoy yelled at

Brown and disparaged his work.

       ANSWER:

       University lacks knowledge and information sufficient to form a belief as to the truth of

the allegations in this paragraph and denies them on that basis.




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          97.    McCoy initially denied to the OAE investigator that the Department gave

Brown’s white coworker a condolence card, but later recanted, and admitted signing it himself.

          ANSWER:

          University admits the allegations contained in this paragraph.

          98.    A coworker told OAE that McCoy said to Brown he would be in “a coffin like his

family who passed away,” if he did not eat better.

          ANSWER:

          University admits the allegations contained in this paragraph.

          99.    OAE issued a Report on its investigation, dated October 5, 2017. OAE

acknowledged in pertinent part that

          [i]t was clear from witness testimony and. by Mr. McCoy himself that he degrades
          Mr. Brown and allows for coworkers to bully him.

          During the interview process it became exceedingly apparent that there is racial
          tension between the employees who identified as Caucasian and other African
          American employees in the larger Facilities and Services department as a whole.
          As Mr. Brown is the sole African-American employee in his area, it will be
          important that his department understand this dynamic of tension in moving
          forward in a productive manner. A s such, it is the obligation of the supervisor to
          be the role model for civility and Mr. McCoy has failed in this role.

          ANSWER:

          University admits this paragraph contains an excerpt from an OAE investigation report.

Except as expressly admitted, University denies any remaining allegations in this paragraph.

          100.   OAE stated: “This report is private and confidential, it is not be shared or

circulated to others except as necessary for implementing recommendations.”

          ANSWER:

          University admits this paragraph contains language excerpted from an OAE investigation

report.

          101.   The Report explained how the University found that none of the conduct about

which Brown complained violated the NDP.




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       ANSWER:

       The Report speaks for itself. University denies the remaining allegations in this

paragraph.

       102.    Regarding the Klan threat, in spite of the fact that Brown’s account was directly

corroborated by at least one witness, the University determined that Brown’s evidence did not

meet its preponderance of evidence standard—i.e., that Brown’s evidence did not make it more

likely than not that the incident actually occurred.

       ANSWER:

       The Report speaks for itself. University denies the remaining allegations in this

paragraph.

       103.    OAE noted in Brown’s report:

       . . . [E]ven with all things being true in favor of the Complainant, the evidence does
       not rise to the legal standard for establishing Mr. Brown’s harassment claim that he
       was subjected to unwelcome physical conduct because of his race (Black). In the
       case at hand, there was insufficient evidence to demonstrate the existence of a
       KKK-style mask.

       ANSWER:

       The Report speaks for itself. University denies the remaining allegations in this

paragraph.

       104.    For the University to reach the conclusion that it was more likely than not that the

KKK incident did not happen as Brown explained, it either ignored Taylor’s corroborating

evidence altogether and/or summarily determined the white employees who denied seeing the

mask—who reported to McCoy, and included the employee accused of donning the mask—were

more credible than black witnesses, Brown and Taylor. See infra Section I(C)(iii) (detailing the

University’s pattern or practice of conducting biased and/or bad faith investigations by ignoring

material evidence and treating black complainants as untrustworthy).

       ANSWER:

       University denies the allegations contained in this paragraph.



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       105.    The University also concluded that McCoy’s treatment of Brown was not race

based—despite evidence of McCoy’s racial animus, e.g., McCoy laughing along during the KKK

incident and that he referred to blacks as “boys” (which OAE simply ignored).

       ANSWER:

       University denies the allegations contained in this paragraph.

       106.    In the context of McCoy’s admissions, corroborating witness accounts, and the

University’s own findings about the nature of McCoy’s treatment and the overall racial climate

in F&S, a reasonable conclusion would be that is was more likely than not that McCoy’s conduct

was race based. However, the University avoided this conclusion by refusing to consider the

totality of the circumstances. Instead, it disaggregated and decontextualized patterns of

harassment in order to reach conclusions that it could not reach had it evaluated the complaints in

context. See infra Section I(A)(iii) (discussing the University’s policy of intentionally avoiding

making racial harassment findings by refusing to consider the totality of circumstances during

racial harassment investigations).

       ANSWER:

       University denies the allegations contained in this paragraph.

       107.    The University’s investigation into Brown’s complaints is typical of its pattern or

practice of intentionally avoiding finding that racial harassment constitutes a violation of its

NDP.

       ANSWER:

       University denies the allegations contained in this paragraph.

       iii.    The Experiences of the Complainants Detailed in an OAE Report Published
               Online in October 2018 Demonstrate how the NDP Functions as an Actual Policy
               of Harassment
       108.    In October 2018, a published OAE report detailed the University’s findings from

an investigation into multiple complaints that a professor at the University College of Law

sexually harassed female faculty members and students—by repeatedly touching women

inappropriately, including on their buttocks, thigh, knee, and arm; attempting to hug women—


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despite clear protest; asking women about sexual practices, relationship status, and habits;

talking about his sex life, sexual fantasies, and masturbation; asking women to stay at his

apartment; and engaging in other sexually offensive conduct.

       ANSWER:

       University denies the allegations contained in this paragraph and otherwise respectfully

refers the Court to the documents referenced therein for the true and correct contents thereof.

       109.    The Report detailed how the allegations of the three primary complainants were

directly corroborated by numerous witness accounts of touching, comments, overtures, and other

highly offensive sexual conduct.

       ANSWER:

       University denies the allegations contained in this paragraph and otherwise respectfully

refers the Court to the documents referenced therein for the true and correct contents thereof.

       110.    The Report acknowledged that much of the underlying behavior in the

complainants’ witness’s accounts was admitted, and that the accused had also been the subject of

prior sexual harassment allegations. Upon information and belief, at least two of which occurred

while the accused was employed by the University, and one of which had been made to the same

OAE investigator that received the three subsequent complaints.

       ANSWER:

       University denies the allegations contained in this paragraph and otherwise respectfully

refers the Court to the documents referenced therein for the true and correct contents thereof.

       111.    OAE admitted that the “actions certainly have made the working and teaching

environment uncomfortable for a countless number of female colleagues and students,” and that

he “likely will continue” his sexual misconduct.

       ANSWER:

       University denies the allegations contained in this paragraph and otherwise respectfully

refers the Court to the documents referenced therein for the true and correct contents thereof.




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       112.    Nonetheless, the University concluded that the accused did not violate the

University NDP.

       ANSWER:

       University denies the allegations contained in this paragraph and otherwise respectfully

refers the Court to the documents referenced therein for the true and correct contents thereof.

       113.    While the published OAE report deals with sexual harassment, it is the

University’s single policy of permitting harassment in violation of Title VII and ICRA, which is

responsible for the illegal harassment described in the report, and in this Amended Complaint.

       ANSWER:

       University denies the allegations contained in this paragraph.

B.     OAE is Infected with Racism
       114.    The University of Illinois at Urbana–Champaign, or more commonly

“ILLINOIS,” is the flagship state university campus. It is the largest and most prestigious of the

three campuses, employing and educating more people than the other campuses combined.

       ANSWER:

       University admits that UIUC is the largest campus in the University of Illinois system.

       115.    The Senior Officer of the University’s OAE department at UIUC, Director Heidi

Johnson, herself racially harasses her black subordinates, and is at once the primary arbiter and a

beneficiary of the University’s threshold for permissible racial harassment under the NDP

       ANSWER:

       University denies the allegations contained in this paragraph.

       116.    Following Johnson’s lead, several members of UIUC OAE leadership similarly

have engaged in racial motivated mistreatment of black OAE employees.

       ANSWER:

       University denies the allegations contained in this paragraph.




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       117.    The University cannot ensure its compliance with anti-discrimination laws when

it permits OAE senior leaders regularly to engage in the same conduct the office is charged with

preventing and correcting.

       ANSWER:

       University denies the allegations contained in this paragraph.

       118.    The University therefore has a powerful motive to find that conduct does not rise

to the level of a violation of the University’s NDP.

       ANSWER:

       University denies the allegations contained in this paragraph.

       119.    From 2012 to 2016, at UIUC, the University did not make a single finding that

harassment of an employee constituted a violation of the NDP.

       ANSWER:

       University denies the allegations contained in this paragraph.

       120.    Former UIUC OAE employee Phyllis Tate repeatedly questioned the University’s

determinations because oftentimes there was evidence that would support a finding of

discrimination. In response, Senior Associate Director Abdullah-Span would say things such as,

“the bar is very high,” or “the bar is so high that it is very hard to show discrimination.” The

“high” standard required show harassment under the NDF is oft-repeated mantra of the

University. See, e.g., OAE’s Report on Plaintiff Brown (“While the conduct attributed to Mr.

McCoy does not meet the high standards needed to state a claim for racial harassment under the

campus’ nondiscrimination policy, the evidence obtained does show a gross violation of the

spirit of the University’s Code of Conduct policy”); OAE Report Published Online in October

2018 (“While the conduct attributed to [the accused]. . . does not meet the high standards needed

to state a hostile environment harassment claim for individual complainants under University

policy, the collective evidence gathered during the investigation revealed a pattern and practice

by [the accused] . . . of engaging female students and junior female colleagues in a manner that

he knew or should have known would make them feel uncomfortable and was highly


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inappropriate for a workplace or academic setting. Through this conduct, [the accused] . . .

certainly violated the spirit of the University’s nondiscrimination policy, as well as its Code of

Conduct.”).

       ANSWER:

       To the extent this paragraph purports to quote language in University documents, those

documents speak for themselves. University denies the remaining allegations contained in this

paragraph.

       121.    UIUC OAE Director Heidi Johnson has personally harassed and discriminated

against class members who have worked under her in OAE.

       ANSWER:

       University denies the allegations contained in this paragraph.

       122.    By way of example and not limitation, OAE Director Johnson told class member

Kim Otchere, Program Director for Social Justice and Leadership Education, that she was not

hired into a position at OAE for which the search committee recommended her as the preferred

candidate because Otchere “only had experience working with students of color,” and Johnson

wanted a candidate who had “experience working with the majority population on campus,”

which is white.

       ANSWER:

       University denies the allegations contained in this paragraph.

       123.    Johnson ultimately hired a less qualified white candidate over Otchere.

       ANSWER:

       University denies the allegations contained in this paragraph.

       124.    By way of further example, Johnson referred to two black employees, including

class member Phyllis Tate, as the “rowdy crowd” when introducing them to a white employee

from another department. Ms. Tate understood that Ms. Johnson stereotyped the two women as

“rowdy” because of their race, an inference which became clearer when Johnson went on: “Two




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more from the rowdy crowd are on the way.” While there were several OAE employees still on

the way, only two were minorities.

       ANSWER:

       University denies the allegations contained in this paragraph.

       125.    As a further example, Director Johnson has referred to class member Giraldo

Rosales as “angry” on more than one occasion. Rosales and Tate (who also heard Johnson make

these comments about Rosales) interpreted Ms. Johnson’s remark to be a derogatory stereotype:

that Rosales is an “angry” black man.

       ANSWER:

       University denies the allegations contained in this paragraph.

       126.    Following Johnson’s lead, several other members of UIUC OAE leadership

similarly subjected black employees to worse treatment than their white colleagues.

       ANSWER:

       University denies the allegations contained in this paragraph.

       127.    UIUC OAE Senior Associate Director Kamillyah Abdullah-Span subjected

Phyllis Tate to years of racially-motivated mistreatment, including but not limited to regularly

talking to Tate as if she were stupid, policing her “tone,” and making negative comments about

her attire and appearance. On one occasion, Abdullah-Span sent Tate an email with a link to a

clothing retailer with the subject, “dress for the job you want;” on another occasion, she asked

Tate if she bought her clothes at a secondhand store. Tate dressed in professional business attire,

the same as white employees who were not mocked or demeaned for their attire.

       ANSWER:

       University denies the allegations contained in this paragraph.

       128.    Senior HRIS Specialist Andrew Hagler would regularly ignore Tate, be vocally

dismissive of her ideas when they worked on group projects, and often refused to respond to her

when she said hello or goodbye. He did not treat white workers this way.




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         ANSWER:

         University denies the allegations contained in this paragraph.

         129.   When several members of OAE, including Tate, Abdullah-Span, Johnson, and

Hagler went to a University-wide meeting to discuss the rollout of a project on which Tate

worked, Hagler removed Tate’s chair from the OAE table. Tate was forced to sit in the back of

the room instead of with her colleagues. When she complained to Abdullah-Span about Hagler’s

conduct, Abdullah-Span insinuated that Tate was not presentable enough to sit with the OAE

staff.

         ANSWER:

         University denies the allegations contained in this paragraph.

         130.   Director Johnson condoned this behavior through her own similar actions towards

Tate and other black employees, and often appeared amused to watch Abdullah-Span and other

staff harass Tate and other black employees.

         ANSWER:

         University denies the allegations contained in this paragraph.

         131.   For example, in September 2015, Tate gave a presentation to the entire UIUC

OAE office, including Director Johnson. Throughout the presentation, Abdullah-Span rudely

interrupted Tate and arbitrarily dismissed her work. At one point, Tate looked over to director

Johnson for assistance in reigning in Abdullah-Span so she could finish her presentation.

Johnson just smirked and allowed Abdullah-Span to continue her sabotage of Tate’s

presentation.

         ANSWER:

         University denies the allegations contained in this paragraph.

         132.   As a further example, when a putative class member reprimanded a white

subordinate employee, Hope Daniels, for frequently yelling at her and speaking in a disrespectful

manner, Johnson rushed out of her office and scolded the class member but said nothing to

Daniels. This has been common behavior for Johnson; she has often made excuses for white


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employees when they fell behind on assignments, or justified misbehavior by white employees,

while holding class members Tate, Rosales, and other class members to much more exacting

standards.

       ANSWER:

       University denies the allegations contained in this paragraph.

       133.    The biased leadership of and the problems with racial bias within OAE are

reflected in its work, as discussed in Section C, below.

       ANSWER:

       University denies the allegations contained in this paragraph.

       134.    Class members at UIC are deterred from reporting harassment that they

experience because they understand OAE is merely a vehicle to protect the University—not a

department designed to ensure that UIC employees are free from harassment.

       ANSWER:

       University denies the allegations contained in this paragraph.

C.     The University has a Pattern or Practice of Not Finding that Racial Harassment
       Violates its Nondiscrimination Policy, which Effectively Licenses Racial Harassment
       135.    Rather than making a bona fide effort to comply with anti-discrimination law, the

University’s OAE and Human Resources departments, along with Senior University leaders,

methodically ignore or are dismissive of complaints of harassment; fail to initiate investigations

into credible complaints of racial harassment; and/or conduct biased and/or inadequate

investigations by ignoring material and/or corroborating evidence, failing to consider the totality

of circumstances of racial harassment complaints, and treating the word of black witnesses as

fundamentally untrustworthy while trusting statements of white witnesses, including alleged

harassers.

       ANSWER:

       University denies the allegations contained in this paragraph.




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       136.    As a consequence, harassers go unpunished and continue to engage in racial

harassment. The University neither deters harassers nor provides reasonable avenues of redress

for victims.

       ANSWER:

       University denies the allegations contained in this paragraph.

       137.    The practical effect is that the University knowingly permits racial harassment.

       ANSWER:

       University denies the allegations contained in this paragraph.

       i.      Racism is Ignored, and Victims are Punished for Complaining, from the Top
               Down
       138.    University officials at the highest levels, including University President Timothy

Killeen, the former-Interim Chancellor at UIUC, Barb Wilson, and UIUC Chancellor Robert

Jones have ignored explicit complaints of racial harassment, and have discouraged employees

from making complaints.

       ANSWER:

       University denies the allegations contained in this paragraph.

       139.    By way of example only, beginning in 2014, the Associate Director of F&S

Human Resources at UIUC, Melvin Boatner, emailed President Killeen, former interim UIUC

Chancellor Barb Wilson, and UIUC Chancellor Jones, among other University leaders, dozens of

complaints concerning specific examples of racial harassment, discrimination, and retaliation of

which he was aware as a result of his human resources position, or which he personally

experienced. Mr. Boater continued to send complaints as the racism in F&S continued to occur.

He repeatedly questioned President Killeen and senior leaders at UIUC why despite his

complaints, the University did not take appropriate remedial action to address the racial issues

about which he brought to their attention. Despite Boatner’s complaints, racial conditions in F&S

grew worse.




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       ANSWER:

       University admits that Melvin Boatner has emailed and otherwise communicated with

high-level University administrators. University denies the remaining allegations contained in

this paragraph.

       140.       For example, despite that Boatner made several complaints about the lack of

diversity in hiring in F&S and identified specific positions where the University refused to hire

qualified black candidates to open positions, the University permitted the F&S Executive

Management Team to remove Boatner (and the entire F&S Human Resources department) as

voting members on candidate search committees. This decision compounded the diversity issues

about which Boatner complained in the first place since F&S Human Resources was in the best

position to understand the diversity shortcomings of the department. As Boatner explained to

President Killeen and Chancellor Jones by email, dated January 16, 2015: “This change basically

eliminates any chances of a minority candidate getting selected during the search process,

because the search committees are stacked with nonminority employees who historically have

not been inclined to select a minority candidate. These committee members haven’t been

directed to select a minority candidate either, even when one is available and meets all of the

qualifications.”

       ANSWER:

       To the extent these allegations purport to excerpt portions of a specific email, that

document speaks for itself. University denies the remaining allegations in this paragraph.

       141.       On March 2, 2016, Boatner sent an email to President Killeen and former interim

UIUC Chancellor Wilson wherein he explained in detail several examples of how black F&S

employees are subjected to discrimination in F&S, including specific examples of discrimination

in hiring, promotion, salary, and discipline. Boatner also explained several other issues that

contributed to the racist culture in F&S, including identifying six individuals who committed

discrimination and explaining that ODEA is simply protecting the University and not working in

good faith with those affected by discrimination. Boatner provided several suggestions about


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how the University can begin to address the racism in F&S. Following his email, former interim

Chancellor Wilson encouraged Boatner to meet with the Human Resources Assistant Vice

President, Eric Smith, to “follow up” on the issues Boatner raised in his email.

       ANSWER:

       To the extent these allegations purport to excerpt portions of a specific email, that

document speaks for itself. University denies the remaining allegations in this paragraph.

       142.     Rather than “follow up” with Boatner in good faith, on March 8, 2016, Eric

Smith sent Mr. Boatner an unsubtle hint to stop making complaints. Smith told Boatner: “If you

continue to want to blow things up, where do you think you are going to work.”

       ANSWER:

       To the extent these allegations purport to excerpt portions of a specific email, that

document speaks for itself. University denies the remaining allegations in this paragraph.

       143.    Because Boatner had sent several complaints directly to President Killeen and

interim chancellor, including a detailed list of examples of discrimination in F&S just days prior

to meeting with Smith, Boatner reasonably believed that Smith’s warning came directly from the

President and/or the interim chancellor.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of

allegations regarding Boatner’s belief and on that basis denies them. University denies any

remaining allegations in this paragraph.

       144.    Despite Smith’s warning, Boatner continued to oppose harassment and

discrimination, providing notice directly to senior leadership at the University, including to

President Killeen.

       ANSWER:

       University admits that Mr. Boatner has attempted to communicate with high-level

University administrators. University denies the remaining allegations in this paragraph.




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       145.    University leadership discouraged him from complaining to President Killeen or

the campus Chancellors. For example: (1) in June 2016, Interim Chancellor Barb Wilson

instructed Boatner that he was to send his complaints to F&S Interim Executive Director Helen

Coleman, not herself or President Killeen; (2) in August 2016, Coleman sent Boatner a letter in

which she admonished him for continuing to complain to President Killeen and instructed him

that he should direct complaints to herself; and (3) in August 2017—less than three months after

Boatner filed a Charge of Discrimination with the EEOC— Director of Safety and Compliance

Maureen Banks sent Boatner a Letter of Expectation, placing Boatner on a 60-day probation

after which time she would reevaluate his employment with the University, at least in part,

because he continued to complain to the President, Chancellor, and Board of Trustees instead of

Interim F&S Director Coleman.

       ANSWER:

       University denies the allegations in this paragraph.

       146.    In April 2017, Boatner sent an email to President Killeen and Chancellor Jones,

which included dozens of examples of how discrimination in F&S was growing worse despite

his complaints. Boatner explained to Killeen how, when he mentioned the same concerns to the

Director of F&S at the time, Helen Coleman, and asked her why nothing was being done she

responded: “If I choose to do nothing, then I am choosing to do something.”

       ANSWER:

       To the extent these allegations purport to excerpt portions of a specific email, that

document speaks for itself. University denies the remaining allegations in this paragraph.

       147.    Neither Killeen or Jones responded. The harassment, discrimination, and

retaliation continued in F&S.

       ANSWER:

       University denies the allegations contained in this paragraph.




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       148.    By letter dated August 28, 2017, Boatner notified President Killeen and

Chancellor Jones that because of his ongoing opposition to racial discrimination, his department

heads were retaliating against him, including threatening to fire him within 60 days.

       ANSWER:

       To the extent these allegations purport to excerpt portions of a specific email, that

document speaks for itself. University denies the remaining allegations in this paragraph.

       149.    Neither Killeen nor Jones responded.

       ANSWER:

       University denies the allegations contained in this paragraph.

       150.    Shortly thereafter, Boatner suffered a stroke at work. Director Banks—the

supervisor about whom Boatner complained in his August 2017 letter—along with Executive

Director Coleman and Assistant Vice President Eric Smith—failed to call for medical help,

although they recognized the symptoms of a stroke. While he was on the floor crying, Smith

commented, “he seems coherent, so he must be okay.” Coleman added: “You know, if you aren’t

feeling well, you can go home.” Then Smith, Banks and Coleman simply exited the room,

without notifying anyone.

       ANSWER:

       University denies the allegations in this paragraph.

       151.    Boatner eventually managed to get into his car, and drive home, but it was several

more hours before he received medical care. As a result of the delay, he suffered permanent

neurological damage.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       152.    Based on information and belief, Director Banks, Executive Director Coleman

and Assistant Vice President Smith acted out of a retaliatory motive in refusing to summon

medical help, and abandoning Boatner.


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       ANSWER:

       University denies the allegations contained in this paragraph.

       153.    Boatner’s experience with executive-level retaliation is not unique at the

University. In August 2017, then-UIUC OAE Affirmative Action Coordinator Giraldo Rosales

complained directly to President Killeen and Chancellor Jones that less than three months after

he filed a Charge with the EEOC concerning, inter alia, racial harassment and retaliation that he

experienced in OAE, Director Johnson issued him a demonstrably biased performance evaluation

and recommended that his employment contract be terminated. In the 27 years prior to this

evaluation, Rosales had never been evaluated so poorly.

       ANSWER:

       University denies the allegations contained in this paragraph.

       154.    Rosales had no choice but to complain to Killeen and Jones because the conduct

about which he complained was perpetrated by the Director of the only department designated by

the University’s NDP to receive such reports.

       ANSWER:

       University denies the allegations contained in this paragraph.

       155.    That fact that OAE employees effectively had no outlet to complain was not lost

those in OAE’s leadership who committed racial harassment. For example, when class member

Phyllis Tate complained to Abdullah-Span about her own and Director Johnson’s mistreatment

of her (discussed below in Section C(ii)(e)), Abdullah-Span told Tate she had no recourse,

stating OAE is “the office that handles complaints; I’m not sure if anyone here has a complaint

where they will go.”

       ANSWER:

       University denies the allegations contained in this paragraph.

       156.    Neither Killeen nor Jones responded or took action to protect Rosales.

       ANSWER:

       University denies the allegations contained in this paragraph.


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       157.    The University’s Board of Directors approved Director Johnson’s

recommendation to terminate Rosales’ employment contract.

       ANSWER:

       University denies the allegations contained in this paragraph.

       158.    Director Johnson was not disciplined for her racial harassment and/or retaliation

against Rosales.

       ANSWER:

       University denies the allegations contained in this paragraph.

       159.    President Killeen’s, Interim-Chancellor Wilson’s, and Chancellor Jones’ conduct

is an expression of the University’s actual policy of discrimination, and signals to other

University decision makers that they, too, can ignore complaints of racial harassment.

       ANSWER:

       University denies the allegations contained in this paragraph.

       ii.     The University’s Human Resources and OAE Departments Ignore Racial
               Harassment Complaints and Refuse to Initiate Investigations.
       160.    Following the example of the University’s senior leadership, including President

Killeen, the University’s primary units that are designated to ensure compliance with anti-

discrimination law also maintain a pattern or practice of simply ignoring complaints of

discrimination and/or refusing to initiate investigations into complaints.

       ANSWER:

       University denies the allegations contained in this paragraph.

       161.    By ignoring complaints or refusing to initiate investigations, the University is able

to turn a blind eye to the racism at the University, harassers are free to continue their unlawful

conduct, and aggrieved class members are afforded no protection.

       ANSWER:

       University denies the allegations contained in this paragraph.




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                  a.      OAE and Human Resources ignored Terry Smith’s complaints of racial
                          harassment
          162.    Class member Terry Smith is a black former Building Services Worker at UIUC

who in 2016 and 2017 experienced repeated racial harassment, such as being called “boy,” lazy,”

and “worthless,” including by his Foreman, Mike Watson.

          ANSWER:

          University admits that Terry Smith has been employed at UIUC and otherwise denies the

allegations contained in this paragraph.

          163.    As Smith stated under oath:

          After Watson cursed me out, I complained to human resources that Watson was
          racially harassing me, but when HR held a meeting about the incident, the focus
          was only

          Watson’s criticisms of my work performance and not on his treatment of me.
          Following my complaint to human resources, I complained to [the University’s]
          ODEA [department at UIUC] in the summer of 2016 about Watson’s treatment of
          me. I specifically told ODEA that I felt I was being racially harassed.

          The investigator I talked with in ODEA did not investigate my complaint or take
          any action that I am aware of, and I did not otherwise hear back from ODEA
          following my complaint. She just told me that my Foreman is allowed [to]
          reprimand and/or discipline me.

          Following my meeting with ODEA, Watson intensified his racial harassment and
          discrimination against me. 2

          ANSWER:

          University admits that this appears to be a portion of a document. That document speaks

for itself. University denies the remaining allegations in the paragraph.

          164.    Smith again complained to OAE in March 2017. OAE still refused to investigate:

          I spoke with the same investigator in ODEA that I spoke with when I complained
          in the summer of 2016. She told me that she remembered me.

          I complained specifically that I was being racially harassed by Watson and
          retaliated against for complaining about harassment.




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    Declaration of Terry Smith dated October 17, 2017, ¶¶10-13


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       The investigator defended the Building Services department and again told me that
       my Foreman is allowed to discipline me and that it was not racial harassment.

       I asked the investigator how it could not be considered racial harassment when I
       am the only African American in the hall and no one else was being treated this
       way.

       To the best of my knowledge, ODEA took no action and did not investigate my
       complaints.

       I have not heard anything from the ODEA department regarding my complaints of
       racial harassment and retaliation.

       ANSWER:

       University admits that this appears to be a portion of a document. That document speaks

for itself. University denies the remaining allegations in the paragraph.

       165.    Smith’s Forman, Watson, and another supervisor gave Smith numerous

unfounded writeups. Because of his write ups, the University placed him on administrative leave

without pay. When he returned to work following the leave, in or around April 2017, the

harassment and discrimination intensified, and ultimately culminated in Smith’s termination.

       ANSWER:
       University denies the allegations contained in this paragraph.

               b.      OAE does not investigate Plaintiff Flemons’ complaint of confederate
                       flags at his workplace
       166.    On June 27, 2017, Class Representative Flemons emailed UIUC OAE Director

Johnson to report that he had been seeing a vehicle bearing confederate flag images in an

employee-only University parking lot. Flemons identified himself as an employee. Pursuant to

the University’s Nondiscrimination Policy, OAE was the proper organization to receive his
complaint.

       ANSWER:

       To the extent these allegations purport to excerpt portions of a specific email, that

document speaks for itself. University denies the remaining allegations in this paragraph.

       167.    Flemons attached several images of the vehicle and its location, including the

following:


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       ANSWER:

       University admits the allegations contained in this paragraph and otherwise respectfully

refers the Court to the documents referenced therein for the true and correct contents thereof.

       168.    Johnson replied via email that someone from a student-focused organization

would be in touch, but no one ever contacted him or otherwise followed up on his complaint.

       ANSWER:

       To the extent these allegations purport to excerpt portions of a specific email, that

document speaks for itself. University denies the remaining allegations in this paragraph.

       169.    As of the time of this filing, Flemons was unaware of any investigation into his

complaint.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

               c.      OAE at UIC ignored class member Dolores Spraggins’ complaints of
                       discrimination
       170.    Class member Dolores Spraggins is a black Driver in the Motor Pool at UIC.




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        ANSWER:

        University denies the allegation to the extent it assumes determination of the legal issue

of class certification.

        171.    Ms. Spraggins started working at the University in 2012.

        ANSWER:

        University admits the allegations contained in this paragraph.

        172.    The University subjected her to racial slurs, including the N word, and racially

offensive mistreatment for years.

        ANSWER:

        University denies the allegations contained in this paragraph.

        173.    By way of example and not limitation, within the first week of her employment,

Ms. Spraggins heard her supervisor, Sub Foreman Rich Riddle, use the N word during a

conversation with a white employee.

        ANSWER:

        University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph and on that basis denies them.

        174.    Spraggins coworker, Frankie Lamatto also frequently used the N word and made

racially derogatory remarks directed at and in Ms. Spraggins’ presence. She complained about

Lamatto’s use of the N word to her supervisor, Riddle, on numerous occasions over the course of

several years. Despite her complaints, Lamatto continued to use the N word without

consequence. Riddle never informed OAE as required or otherwise took any adequate remedial

measures.

        ANSWER:

        University denies the allegations in this paragraph.

        175.    In addition to racial slurs, Ms. Spraggins’ supervisor, Transportation Manager

Bob Witas, subjected her to race-based treatment with respect to several aspects of her

employment, including denying her scheduling priority in favor of white employees with less


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seniority than she had, refusing her request to work on the day shift so that white workers could

work on the day shift instead, and denying her overtime compensation when she worked

overtime.

       ANSWER:

       University denies the allegations contained in this paragraph.

       176.       In September 2018, Ms. Spraggins called the UIC OAE office to report the

discrimination that she was experiencing. She explained to an investigator that she was being

discriminated against with respect to scheduling, shift assignments, and overtime compensation.

The investigator told Ms., Spraggins to put her complaints in writing and that OAE “would take

it from there.”

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph and on that basis denies them.

       177.       As requested, Ms. Spraggins emailed the investigator a written complaint

explaining in detail the discriminatory employment decisions she endured and expressly

indicating that she was experiencing discrimination.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph and on that basis denies them.

       178.       Ms. Spraggins called and left messages for the investigator requesting a status

update every week for three consecutive weeks after she emailed her complaint. Ms., Spraggins

never heard from the investigator or anyone else in OAE again.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph and on that basis denies them.




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        179.    In accordance with the University’s pattern or practice of intentionally avoiding

finding that conduct violates the University NDP, OAE simply ignored Ms. Spraggins’ detailed,

explicit complaint of discrimination.

        ANSWER:

        University denies the allegations contained in this paragraph.

        180.    OAE never investigated Ms. Spraggins’ complaint.

        ANSWER:

        University denies the allegations contained in this paragraph.

                d.        OAE at UIC failed to initiate an investigation into Class member Chuck
                          Conner’s complaints of harassment and discrimination
        181.    Class member Chuck Conner is a black Garage Foreman in the Motor Pool at

UIC.

        ANSWER:

        University denies the allegation to the extent it assumes determination of the legal issue

of class certification.

        182.    Throughout 2016 to present, Conner’s supervisors and white coworkers subjected

him to racial harassment, including, inter alia, violent physical threats and intimidation; racial

slurs, stereotypes, and comments, such as being subjected to use of the words: n*gger, monkey,

boy, and Aunt Jemima, among other racially offensive language; and degrading race-based

conduct and treatment.

        ANSWER:

        University denies the allegations contained in this paragraph.

        183.    The University was aware of the systemic racism in the Motor Pool because

Conner complained to his supervisors, UIC management, and OAE about several of the racial

issues he endured.

        ANSWER:

        University denies the allegations contained in this paragraph.



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       184.    Moreover, in late-2015, Conner and the University reached an agreement intended

to resolve prior racial harassment, discrimination, and retaliation that Conner experienced while

working in the Motor Pool at UIC. The individuals who perpetrated and condoned the racial

harassment that formed the basis of Conner’s prior matter, remained employed at the University

and the University took inadequate steps to protect Conner from further racial harassment.

       ANSWER:

       University denies the allegations contained in this paragraph.

       185.    In spite of the December 2015 agreement, Conner’s supervisors and white

coworkers continued to subject him to increasingly hostile racial harassment.

       ANSWER:

       University denies the allegations contained in this paragraph.

       186.    One of the supervisors in the Motor Pool Garage where Conner worked, Sub

Foreman, Rich Riddle, regularly made racist remarks directed at or in the presence of Conner. By

way of example and not limitation, on one occasion, after Riddle had a disagreement with a

black employee, he approached Conner and asked: “Are all black people this ignorant? I want to

know, is it something I’m saying? Do all black people do this?”

       ANSWER:

       University denies the allegations contained in this paragraph.

       187.    Riddle also regularly commented on how a group of black employees conducted

themselves, and often referred to them as “ignorant bitches” or “stupid bitches.”

       ANSWER:

       University denies the allegations contained in this paragraph.

       188.    In January 2018, Riddle instructed Conner to release a vehicle that he was

working on but that had not yet passed a safety inspection. Conner cannot release vehicles

without the required safety inspection, which he explained to Riddle. Had Conner released the

vehicle without the required safety inspection, he would have been subject to discipline.




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       ANSWER:

       University denies the allegations contained in this paragraph.

       189.    Riddle became enraged that Conner would not follow his demand that he violate

safety protocol. Riddle does not demand or otherwise pressure white workers to commit safety

infractions.

       ANSWER:

       University denies the allegations contained in this paragraph.

       190.    Riddle started yelling at Conner: “Go on and do your fucken job!” Conner told

Riddle it was not necessary for him to talk to him that way. Riddle continued yelling at Conner:

“Just do your fucking job!” Riddle does not direct abusive and/or profane language at white

workers.

       ANSWER:

       University denies the allegations contained in this paragraph.

       191.    Conner provided a written incident report regarding Riddle’s conduct to the

Associate Director of the Motor Pool, Pablo Acevedo. Upon information and belief, two other

witnesses to Riddle’s abuse of Conner also submitted incident reports, which corroborated

Conner’s account.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       192.    Additionally, Conner called the OAE Executive Associate Director, Mike Diaz, to

inform him that he filed an incident report regarding Riddle’s racial harassment. Conner

explained to Diaz that he felt Riddle’s verbal abuse was racial harassment, and that Riddle’s

conduct was part of a continuing pattern of racial harassment against Conner that started before

and did not end following the late-2015 agreement between Conner and the University.




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       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       193.    Diaz told Conner that he would relay the information to the Executive Director of

Operations & Maintenance, Clarence Bridges, that they will make a decision about Riddle’s

conduct, and that he would make sure the situation is “taken care of.”

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       194.    Diaz did not advise Conner to submit an additional complaint with his office.

       Diaz never indicated that OAE would not conduct an investigation into Conner’s reports

of Riddles’ harassment or the ongoing pattern of racial harassment in the Motor Pool about

which Conner complained.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       195.    Neither Diaz nor Bridges ever contacted Conner again regarding his complaints.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       196.    Conner learned that Riddle had a meeting with Bridges during which Riddle had a

tantrum and blew up, and that as a result of his tantrum during the meeting with Bridges, Riddle

was sent to anger management.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.




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       197.    Upon information and belief, the University did not discipline Riddle for his

racial harassment of Conner.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       198.    Conner’s experience described above is typical of how the University treats black

employees who make complaints of racial harassment. Under its pattern or practice of

intentionally avoiding finding that harassing conduct violates the University NDP, the University

failed to initiate an investigation into Conner’s explicit reports of harassment.

       ANSWER:

       University denies the allegations contained in this paragraph.

       199.    As a consequence of the University’s failure to investigate Conner’s reports of

racial harassment, the University never disciplined Riddle or any of the other individuals who

engaged in racial harassment in the Motor Pool.

       ANSWER:

       University denies the allegations contained in this paragraph.

       200.    The University’s refusal to hold those who commit racial harassment accountable

serves as a tacit approval of their conduct, which emboldens harassers to engage in additional,

often more intense harassment and signals to other employees that the University tolerates racial

harassment.

       ANSWER:

       University denies the allegations contained in this paragraph.

       201.    Accordingly, Conner and other black employees in the Motor Pool continued to

experience racial harassment.

       ANSWER:

       University denies the allegations contained in this paragraph.




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       202.    By way of example only, less than two months after Conner complained of

Riddle’s racial harassment, Transportation Manager Bob Witas referred to Conner as a

“monkey” in front of Conner’s white coworker.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

               e.     Senior leadership in Human Resources and OAE were aware of racial
                      harassment against class member Phyllis Tate, but took no remedial
                      action
       203.    Phyllis Tate is a former UIUC OAE Human Resources Associate. She reported to

Director Johnson and Associate Director Abdullah-Span. Shortly after she started in OAE in

2012, and continuing into early 2016, Ms. Tate complained on several occasions, both orally and

in writing, to UIUC OAE Director Johnson and Senior Associate Director Abdullah-Span about

racial harassment Johnson and Abdullah-Span had directed against her.

       ANSWER:

       University admits that Ms. Tate worked for the University in the OAE office and denies

the remaining allegations contained in this paragraph.

       204.    The University’s NDP required Ms. Tate to report the racial harassment to her

harassers: “Individuals who believe that a University of Illinois at Urbana-Champaign employee

has subjected them to discrimination or harassment in violation of this policy should contact the

Office of Diversity, Equity, and Access[.]”

       ANSWER:

       University denies the allegations contained in this paragraph.

       205.    The NDP does not provide another option for employees working in the OAE, a

defect of which OAE leadership is well aware. As OAE Senior Associate Director, Abdullah-

Span reminded Tate while she was harassing her: “[OAE] is the office that handles complaints;

I’m not sure if anyone here has a complaint where they will go.”




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       ANSWER:

       University denies the allegations contained in this paragraph.

       206.    Unsurprisingly, none of Tate’s complaints were investigated.

       ANSWER:

       University denies the allegations contained in this paragraph.

       207.    Because nothing was done about her complaints, the racial harassment continued.

       ANSWER:

       University denies the allegations contained in this paragraph.

       208.    Tate also complained to the Associate Provost of Staff Human Resources, Elyne

Cole, on several occasions between 2013 and November 2015. Tate complained specifically that

she believed her race played a role in Abdullah-Span’s and Johnson’s treatment of her. When

Tate would complain, Cole would ask Tate whether she could just “tough it out” or would come

check on Tate in the OAE office. Tate provided Cole with a copy of a December 2015 EEOC

Charge she filed, in which she detailed the harassment and discrimination that she experienced in

OAE.

       ANSWER:

       University denies the allegations contained in this paragraph.

       209.    Despite Cole’s personal knowledge of the harassment against Tate, pursuant to

the University’s pattern or practice, Cole never initiated an investigation into Tate’s complaints

or otherwise took any meaningful action to help Tate. Accordingly, the discrimination and

harassment against Tate continued.

       ANSWER:

       University denies the allegations contained in this paragraph.

       210.    Ultimately, the harassment forced Tate to resign from her position in OAE in

early-2016 because she found her workplace intolerably hostile.




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       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations regarding Tate’s state of mind, and on that basis denies the allegations in this

paragraph.

       iii.    The University has a Policy of Not Conducting Bona Fide Investigations into
               Complaints of Racial Harassment.
       211.    When the University does initiate investigations, they are fundamentally flawed

and/or biased against black complainants.

       ANSWER:

       University denies the allegations contained in this paragraph.

       212.    University investigations are designed to support a single conclusion: that the

alleged racial harassment does not violate the NDP. As OAE admitted in the report discussed in

Section I(A)(iii), above:

       This sexual harassment standard closely parallels the standard that would apply in
       a civil damages action against the University for sexual harassment. Thus, if the
       University could act only in cases where the actor’s conduct satisfied this standard,
       it would be powerless to intervene until the actor’s conduct had exposed the
       University to civil liability.

       ANSWER:

       This paragraph appears to selectively quote from another document. That document

speaks for itself. University denies the remaining allegations in this paragraph.

       213.    That is, to the extent the University determines that harassment violates its NDP,

it admits it is also legally liable for the harassment. This is one reason the University did not

made a single finding of a harassment violation of its NDP from 2012 to 2016. The University’s

OAE units are not independent, impartial fact-finding bodies. OAE’s partiality towards the

University is also well known among class members, which often results in victims of racial

harassment simply choosing to endure the abuse rather than going to OAE for assistance.

       ANSWER:

       University denies the allegations contained in this paragraph.


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       214.    The University takes affirmative steps to ensure that investigations will not result

in a finding of a violation of the NDP, including by systematically disregarding material

evidence favorable to complainants; treating white employees as more trustworthy than black

employees, and evaluating evidence in the light most favorable to the alleged harasser, including

by refusing to look at the totality of the circumstances of harassment.

       ANSWER:

       University denies the allegations contained in this paragraph.

       215.    Under this pattern or practice, the University ensures that complaints of

harassment will not be found to violate the University’s NDP.

       ANSWER:

       University denies the allegations contained in this paragraph.

       216.    As a consequence, harassers go unpunished and are permitted to continue their

mistreatment—often with greater frequency and intensity—and other employees realize there is

no risk in joining them.

       ANSWER:

       University denies the allegations contained in this paragraph.

               a.      Example: Jeffrey Taylor
       217.    Class Representative Jeffrey Taylor filed a complaint with the University’s OAE

department at UIUC in October 2017, alleging that several of his supervisors and coworkers in

the UIUC’s Dining department racially harassed him and discriminated against him. Taylor

provided several examples of harassment, including being called the N word by a coworker,

having knowledge of his supervisor’s use of the N word to Taylor’s social media friend, and

repeated instances of his supervisors treating him worse than white employees, by yelling and

cursing at him, and excessively monitoring him and scrutinizing his work.




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       ANSWER:

       To the extent the allegations in this paragraph purport to characterize a specific

document, University denies the allegations except to the extent reflected in such document

itself. University denies the remaining allegations in this paragraph.

       218.    In July 2018, OAE issued a report, in which the University concluded that Taylor

had not experienced racial harassment under the NDP.

       ANSWER:

       To the extent the allegations in this paragraph purport to characterize a specific

document, University denies the allegations except to the extent reflected in such document

itself. University denies the remaining allegations in this paragraph.

       219.    The University reached this conclusion by ignoring Taylor’s complaints regarding

the use of the N word, ignoring corroborating evidence from Taylor’s witnesses, and confining

its report to the actions of just one of Taylor’s supervisors, Don Van Liew, despite that Taylor

had also complained to OAE about the actions of several of his supervisors and coworkers.

       ANSWER:

       University denies the allegations contained in this paragraph and otherwise respectfully

refers the Court to the documents referenced therein for the true and correct contents thereof.

       220.    Taylor reported two instances of his supervisors and coworkers using the N word,

including the following text message that Taylor received from a coworker, which he showed to

OAE:




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          ANSWER:

          This paragraph contains a pictoral document which appears to be a text message. The

document speaks for itself. University denies the remaining allegations in this paragraph.

          221.   However, in accordance with its pattern or practice of ignoring material evidence,

Taylor’s complaints regarding the N word in the workplace were entirely absent from OAE’s

report.

          ANSWER:

          University denies the allegations contained in this paragraph and otherwise respectfully

refers the Court to the documents referenced therein for the true and correct contents thereof.

          222.   OAE also ignored and/or white-washed corroborating evidence concerning

supervisor Van Liew.

          ANSWER:

          University denies the allegations contained in this paragraph.

          223.   OAE’s report cited four accounts of the witnesses it interviewed, each of which

corroborated some of the conduct which formed the basis for Taylor’s complaints against Van

Liew, and two of which directly corroborated Taylor’s complaints of an overall racially hostile

environment in Dining.


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        ANSWER:

        This paragraph purports to characterize portions of a specific document. That document

speaks for itself. University denies the remaining allegations in this paragraph.

        224.    One witness, Briscoe Brown, corroborated Taylor’s account of a racially hostile

environment in Dining, saying there is a “big race problem in Ikenberry [(where Taylor worked)]

as well as in the rest of Dining Services,” that the problem is manifest in the conduct of both

management and non-management, and that he himself sought a transfer away from Ikenberry

because of the racially hostile environment. OAE did not account for this directly relevant

context in its report.

        ANSWER:

        To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

        225.    Another witness, Executive Chef Carrie Anderson, reported to OAE that Van

Liew repeatedly harassed Taylor because of his race, that she had not seen Van Liew treat white

workers in the same way Van Liew treated Taylor, and described the overall racial tension in

Dining, which Taylor and other black employees experienced.

        ANSWER:

        To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

        226.    In its report, OAE explained how Anderson corroborated Taylor’s account of Van

Liew’s underlying conduct; however, none of the racial context of Anderson’s account is

reflected in OAE’s recitation of her interview. Considering that it was Anderson who encouraged

Taylor to complain to OAE after witnessing several incidents of racial harassment against him,

that the words “race” or “harassment” (or any variation thereof) are even mentioned in OAE’s

recitation of her interview demonstrates how the University’s intention was not to conduct a

good faith investigation into whether Taylor experienced racial harassment but to simply reach

the conclusion that he did not.


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         ANSWER:

         To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

         227.   The fact that OAE simply ignored Taylor’s evidence of use of the N word—

which should be a per se violation of every employer’s racial harassment policy—demonstrates

that the University was primarily concerned with making a finding that there was no violation of

the NDP.

         ANSWER:

         University denies the allegations contained in this paragraph.

                b.      Example: Carrie Anderson
         228.   Class member Carrie Anderson filed a complaint with the University’s OAE

department at UIUC in or around December 2016, alleging that Dining Director Alma Dawn-

Aubrey (white) and several of her white subordinates harassed and discriminated against

Anderson and other black Dining employees for years. Anderson explained at length how Dawn

Aubrey referred to her as her “show pony,” policed her tone, stripped her of job responsibilities,

ostracized her within the management structure, paid her less than her white counterparts,

transferred her, yelled at and belittled her, issued her negative employment evaluations,

disciplined her, regularly treated black employees worse with respect to discipline and

assignments, and was aloof to, attempted to conceal, and then tried to rationalize the drawing of

a swastika in Dining (pictured above at para. 45), among other racial harassment and

discrimination.

         ANSWER:

         To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

         229.   OAE investigated and interviewed seven witnesses—all but one of whom were

white.




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       ANSWER:

       To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

       230.    One witness, Housing Director Alma Sealine, who was actually Dawn-Aubrey’s

supervisor, directly corroborated Anderson’s account of Dawn-Aubrey’s race-based treatment,

noting that Dawn-Aubrey was dismissive of women of color in authority positions.

       ANSWER:

       University denies the allegations contained in this paragraph.

       231.    Another witness also indicated that Dawn-Aubrey treats black employees worse

than white employees with respect to discipline, attendance, and performance. This witness

supported this observation, in part, by Dawn-Aubrey’s callous response to a swastika that was

found in a Dining facility in late-2016.

       ANSWER:

       University denies the allegations contained in this paragraph.

       232.    OAE issued a report in which the University concluded that Dawn-Aubrey’s and

others’ conduct did not rise to the level of a violation of the NDP. It reached this conclusion by

completely disaggregating Anderson’s complaints of multiple incidents of racial harassment

creating a hostile environment.

       ANSWER:

       To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

       233.    In its analysis, OAE considered just a single incident, Dawn Aubrey’s reference to

Anderson as a her “show pony,” and found that the comment, on its own, was not sufficiently

severe or pervasive to violate the NDP. This conclusion is another example of how the

University’s NDP permits a threshold level of racial harassment, as described in greater detail in

Section I(A), supra.




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       ANSWER:

        To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

       234.    Moreover, as OAE noted that during its investigation, Dawn Aubrey made

“repeated efforts to besmirch Ms. Anderson’s reputation and record by fabricating information

about her despite documentation and testimony to the contrary.” Despite OAE’s

acknowledgement of Dawn-Aubrey’s lack of credibility and clear animus towards Anderson, it

nonetheless credited her explanations of her treatment of Anderson so the University could

conclude that Dawn-Aubrey’s conduct did not violate the NDP.

       ANSWER:

       To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

       235.    For example, Dawn Aubrey claimed that she used “show pony” in a

complimentary manner towards Anderson and that she frequently used the term towards other

workers. However, Dawn-Aubrey previously denied ever using the term when confronted about

it by her supervisor Alma Sealine. Moreover, Dawn-Aubrey made this comment to Anderson

following a meeting where she yelled at and belittled Anderson in front of several coworkers,

demonstrating that Dawn Aubrey was not complimenting Anderson. Despite this evidence which

is highly probative of guilty knowledge, OAE determined Dawn-Aubrey’s explanation of her use

of “show pony” as a compliment was “valid.”

       ANSWER:

       To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

       236.    OAE’s failure to evaluate the totality of the circumstances surrounding

Anderson’s complaints of racial harassment, including her corroborating evidence, and OAE’s

credence to Dawn Aubrey’s denials despite her lies and misrepresentations about her treatment

of Anderson, are common policies the University employs to avoid making harassment findings.


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         ANSWER:

         University denies the allegations contained in this paragraph.

         237.   The University’s determination on Anderson’s complaints exemplify how its

purpose was simply to conclude that Anderson did not experience racial harassment under the

NDP, not to investigate her complaints in good faith to determine whether harassment occurred.

         ANSWER:

         University denies the allegations contained in this paragraph.

                c.      Example: Atiba Flemons’ 2014 Investigation
         238.   In July 2014, Paul Rutledge, one of Flemons’ white coworkers, racially harassed

Flemons. Rutledge also lodged a baseless harassment complaint against Flemons.

         ANSWER:

         University denies the allegations contained in this paragraph.

         239.   Flemons denied Rutlege’s allegations and complained himself to OAE of

Rutlege’s racial harassment. OAE purported to investigate.

         ANSWER:

         University denies the allegations contained in this paragraph.

         240.   Flemons had previously complained to OAE that he was subjected to racial

harassment in his department from his supervisor and coworkers, including that he was subjected

to the offensive stereotype that he was “lazy,” as detailed in Section I(A)(i), above.

         ANSWER:

         To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

         241.   Flemons reported to OAE that Rutledge made racial remarks such as calling him

“a stupid fucking boot,” which was an unsubtle shorthand for the racial slur “bootlip.” Flemons

provided witnesses who would have corroborated his allegations against Rutledge, had OAE

asked.




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       ANSWER:

       University denies the allegations contained in this paragraph.

       242.    OAE did not interview any of Flemons’ witnesses. Nor did it consider Flemons’

prior complaint, or its own investigation of that complaint.

       ANSWER:

       To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

       243.    The University concluded that “Rutledge [was] more credible” than Flemons,

even though OAE admitted in its Report that “no-one saw firsthand or heard the words or

gestures alleged by Rutledge.”

       ANSWER:

       To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

       244.    Notwithstanding Flemons’ previous complaint that his supervisors and coworkers

stereotyped him as “lazy,” OAE parroted Flemons’ white coworkers’ derogatory stereotypes in

its report. OAE stated that Flemons’ coworkers described him as “lacking in work ethic and

doing substandard masonry work.” In contrast, OAE described Rutledge as a “good laborer . . .

who just wants his work done well and efficient.”

       ANSWER:

       To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

       245.    OAE’s statements about the work habits of Flemons and Rutledge had no

relationship to Rutledge’s allegations. The statement was superfluous and reflected the

University’s bias against black employees’ during investigations into complaints of harassment

and discrimination.




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       ANSWER:

       To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

       246.    OAE made no mention of Flemons’ allegations of Rutledge’s racial harassment in

the report and did not initiate a separate investigation to address them.

       ANSWER:

       To the extent these allegations purport to characterize portions of a specific document,

that document speaks for itself. University denies the remaining allegations in this paragraph.

                           II.     CLASS ACTION ALLEGATIONS

A.     Class Definitions

       i.      Issues Class Pursuant to Rule 23(c)(4)
       247.    Plaintiffs seek to certify an issues class of all present and future black University

employees, to determine whether the University maintains the policies and practices described in

Section I, paragraph 47, herein.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       ii.     Injunctive Relief Class Pursuant to Rule 23(b)(2)
       248.    Plaintiffs seek an order certifying a class of all present and future black University

employees, in order to obtain injunctive relief, including an order to prohibit the University from

engaging in unlawful employment practices, and such additional affirmative action as may be

appropriate under Title VII and ICRA.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.




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       iii.    Monetary Relief Class Pursuant to Rule 23(b)(3)
       249.    Plaintiffs seek an order certifying a class consisting of all black University

employees, excluding University employees and officers with authority to make policy

concerning employment discrimination, from April 8, 2016 to present who have been or may be

subject to the University’s pattern, policy, and/or practice of creating and maintaining a hostile

work environment based on race

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       250.    Each of the Class Representatives is a member of the proposed Classes.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations

B.     Numerosity and Impracticability of Joinder
       251.    The members of the proposed Classes are sufficiently numerous that joinder of all

members is impracticable.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       252.    Plaintiffs are informed and believe that the Classes may each consist of several

hundred members during the liability period.

       ANSWER:

       University denies that any proposed class is appropriate. University lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained in

this paragraph and on that basis denies them.




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C.     Common Questions of Law and Fact
       253.    The prosecution of the claims of the Class Representatives will require the

adjudication of numerous questions of law and fact common to both their individual claims and

those of the proposed Classes they seek to represent.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       254.    The overarching common question for each class member is: Why am I subjected

to racial slurs, symbols of racial violence, racial graffiti, and the other forms of racial harassment

described herein, while white employees are not?

       ANSWER:

       University denies that a common issue of fact exists for members of Plaintiffs’ putative

class and denies the appropriateness of class certification.

       255.    Plaintiffs expect that the evidence will demonstrate a common answer: The

standard operating policy of the University favors racial harassment of black employees.

       ANSWER:

       University denies the allegations contained in this paragraph.
       256.    Common questions of law include, inter alia:

               a)      Whether the University, through its policies, practices, and/or procedures,

                       creates and tolerates a racially hostile work environment to which black

                       employees are subjected;

               b)      Whether the University has engaged in unlawful, systemic racial
                       harassment against its black employees;

               c)      Whether the University is liable for a continuing systemic violation of

                       federal anti-discrimination laws;




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       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       257.    The common questions of fact include, inter alia, whether, through its policies,

practices, and/or procedures:

               a)      The University has maintained a racially hostile work environment for its

                       black employees;

               b)      The University has subjected its black employees to racial harassment

                       and/or a hostile work environment based on race;

               c)      The University’s Senior leadership and/or departments and units tasked

                       with enforcing its Nondiscrimination Policy, including the President,

                       campus Chancellors, Department Directors, Human Resources, and/or

                       OAE units were aware of and/or affirmatively contributed to the racial

                       harassment;

               d)      The University has engaged in a pattern or practice of failing to take

                       prompt and effective action to stop the systemic racial harassment;

               e)      Injunctive relief is warranted.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       258.    The discriminatory employment policies, practices, and/or procedures to which

the Class Representatives and the class members are subjected are created and enforced by the

University and apply universally to all members of the Classes. These employment policies,

practices, and/or procedures are not unique or limited to particular University campuses,

departments, units, or employee classifications; rather, the policies and/or practices that give rise

to and perpetuate the hostile work environment based on race apply to all black University

employees.


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       ANSWER:

       University denies the allegations contained in this paragraph.

       259.    The University’s discriminatory policies, practices, and/or procedures, therefore,

commonly affect the Class Representatives and potential members of the Classes.

       ANSWER:

       University denies the allegations contained in this paragraph.

       260.    Discrimination in the form of a racially hostile work environment occurs as a

pattern or practice throughout the University and affects the Class Representatives and potential

class members the same way:

       The University creates and tolerates a racially hostile work environment for black

       employees in the form of, inter alia: racial slurs—including the N word, “monkey,”

       and “boy”; racial symbols and imagery—including nooses, swastikas, racial

       graffiti, and confederate flags; racially derogatory stereotypes, jokes, and

       language—including referring to black employees as “you people,” “lazy,” and

       “worthless”; mocking black employees’ speech; claiming their only value is for

       forced “diversity”; physical threats; unwarranted and excessive scrutiny and

       monitoring of black employees’ work and daily movements; and forcing black

       employees to perform menial and more arduous tasks compared to white

       employees.

       ANSWER:

       University denies the allegations contained in this paragraph.

D.     Typicality of Claims and Relief Sought
       261.    The claims of the Class Representatives are typical of the claims of the proposed

Classes. The Class Representatives assert claims in each of the categories of claims they assert

on behalf of the proposed Classes. The relief sought by the Class Representatives for racial

harassment complained of herein is also typical of the relief sought on behalf of the proposed

Classes.


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       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       262.    The Class Representatives, like the members of the proposed Classes, are black

University employees who have been subject to the University’s pattern, policy, and/or practice

of creating and maintaining a hostile work environment based on race.

       ANSWER:

       University denies the allegations contained in this paragraph.

       263.    Each of the Class Representatives and several members of the proposed Classes

have complained about racial harassment, including by formal complaints to department

Foreman, Sub-foreman, Directors, Supervisors, Human Resources, OAE departments, the

EEOC, and/or up to and including the University President, Timothy Killeen, and/or UIUC

Chancellors, Barb Wilson (former interim), and Robert Jones (current).

       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent that it contains factual allegations, University denies those allegations.

       264.    The University’s treatment of and response to these complaints have been

inadequate, and Class Representatives and class members have been affected in the same ways

by the University’s failure to take adequate remedial measures to correct this pattern or practice

of racial discrimination.

       ANSWER:

       University denies the allegations contained this paragraph.

       265.    The University has expressed its standard operating procedure of racial

harassment by (1) maintaining a written Nondiscrimination Policy that allows racial harassment

unless it is “sufficiently severe or pervasive,” “objectively offensive,” and “unreasonably

interferes with, denies, or limits a person’s ability to participate or benefit from employment

opportunities, assessments or status at the University;” (2) through the actions of its senior


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leadership and its departments and units tasked with enforcing its Nondiscrimination Policy,

including members of senior leadership who engaged in racial harassment without consequence;

(3) through the pattern or practice of intentionally avoiding finding that racial harassment

constitutes a violation of the University Nondiscrimination Policy by ignoring racial harassment

complaints, failing to initiate investigations into complaints it acknowledges, and/or by

conducting biased and/or bad faith investigations into complaints of racial harassment.

       ANSWER:

       University denies the allegations contained in this paragraph.

       266.    Consequently, the claims alleged by the Class Representatives are typical of the

claims of the proposed Classes. Each Class Representative has worked at the University during

the liability period and has been subjected to the discriminatory policies, patterns, and/or

practices alleged herein. The relief sought by the Class Representatives for racial discrimination

is also typical of the relief which is sought on behalf of the proposed classes.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

E.     Adequacy of Representation
       267.    The Class Representatives’ interests are co-extensive with those of the members

of the proposed Classes they seek to represent, and the Class Representatives will fairly and

adequately represent and protect the interests of the proposed Classes. The Class Representatives

seek to remedy the University’s discriminatory employment policies, practices, and/or

procedures so that black employees will not be subjected to racial harassment.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       268.    The Class Representatives are willing and able to represent the proposed Classes

fairly and vigorously as they pursue their individual claims.


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          ANSWER:

          University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and on that basis denies them. University denies that any

class treatment is appropriate and otherwise denies any remaining allegations that require a

response.

F.        Efficiency of Class Prosecution of Common Claims
          269.   Certification of the Classes of black employees that are similarly situated to the

Class Representatives is the most efficient and economical means of resolving the questions of

law and fact common to the Class Representatives and the proposed Classes.

          ANSWER:

          This paragraph contains legal conclusions to which no response is required. To the

extent that it contains factual allegations, University denies those allegations.

          270.   The individual claims of the Class Representatives involve resolution of the

common question of whether the University has engaged in a systemic pattern and/or practice of

racial discrimination in the form of hostile work environment against black employees.

          ANSWER:

          This paragraph contains legal conclusions to which no response is required. To the

extent that it contains factual allegations, University denies those allegations.

          271.   The Class Representatives seek remedies to eliminate the adverse effects of such

harassment in their own lives, careers, and working conditions, and in the lives, careers, and

working conditions of the proposed class members.

          ANSWER:

          This paragraph contains legal conclusions to which no response is required. To the

extent that it contains factual allegations, University denies those allegations.

          272.   The Class Representatives seek to prevent continued racial harassment in the

future.




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       ANSWER:

       University denies the allegations in this paragraph.

       273.    The Class Representatives have standing to seek such relief because of the

adverse effect that such harassment has had on them individually and on the black employees

who comprise the proposed Classes.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent that it contains factual allegations, University denies those allegations.

       274.    To gain such relief for themselves, as well as for the members of the proposed

Classes, the Class Representatives will first establish the existence of systemic racial harassment

as the premise for the relief they seek.

       ANSWER:

       University denies the allegations contained in this paragraph.

       275.    Without class certification, the same evidence and issues would be subject to re-

litigation in a multitude of individual lawsuits with an attendant risk of inconsistent adjudications

and conflicting obligations.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       276.    Certification of the proposed Classes of black employees who have been affected

by these common questions of law and fact is the most efficient and judicious means of

presenting the evidence and arguments necessary to resolve such questions for the Class

Representatives, the proposed Classes, and the University.

       ANSWER:

       University denies the allegations contained in this paragraph.




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G.       Requirements of Rule 23(b)(2)
         277.   Claims for injunctive relief are properly maintained under Federal Rule of Civil

Procedure Rule 23(b)(2) because the University has acted on grounds generally applicable to the

Class Representatives and the proposed Classes by adopting and following systemic policies,

practices, and/or procedures, which create and tolerate a hostile work environment on the basis

of race, thereby making appropriate final injunctive relief or corresponding declarative relief

with respect to the Classes as a whole an appropriate remedy.

         ANSWER:

         This paragraph contains legal conclusions to which no response is required. To the

extent that it contains factual allegations, University denies those allegations.

         278.   Racial harassment is the standard operating procedure at the University, rather

than a sporadic or isolated occurrence.

         ANSWER:

         University denies the allegations contained in this paragraph.

         279.   The University has refused to act on grounds generally applicable to the proposed

Classes, inter alia:

                a)      by failing to provide a working environment that is free from racial
                        hostility and harassment;

                b)      by failing to take reasonably effective measures to correct and remedy

                        racial harassment.

         ANSWER:

         University denies the allegations contained in this paragraph.
         280.   The University’s systemic discrimination against black employees makes

appropriate the requested final injunctive and declaratory relief with respect to the Classes as a

whole.

         ANSWER:

         University denies the allegations contained in this paragraph.



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       281.    Injunctive and declaratory relief predominate over the other relief sought in this

case because the injunctive and declaratory relief represent the culmination of the proof of the

University’s individual and class-wide liability at the end of Stage I of a bifurcated trial, and the

essential predicate for the Class Representatives’ and class members’ entitlement to monetary

and non-monetary remedies at Stage II of a bifurcated trial.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       282.    Declaratory and injunctive relief flow directly and automatically from proof of the

common questions of law and fact regarding the existence of systemic racial discrimination

against black employees.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       283.    Declaratory and injunctive relief are the factual and legal predicates for the Class

Representatives’ and the class members’ entitlement to monetary and non-monetary remedies for

individual losses caused and necessitated by such systemic discrimination.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

H.     Requirements of Rule 23(b)(3) and Rule 23(c)(4)
       284.    The claims for monetary relief are properly certified under Rule 23(b)(3) because

questions of law and fact common to the Class Representatives and the proposed Classes

predominate over any questions affecting only individual members. A class action is superior to

other available methods for the fair and efficient adjudication of this case.




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       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       285.    Additionally, the cost of proving the University’s pattern or practice of

discrimination and retaliation makes it impracticable for the Class Representatives and members

of the proposed Classes to pursue their claims individually.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

       286.    Alternatively, the issue of class-wide liability on the Title VII and ICRA claims

under the theories advanced in this action are properly certified under Rule 23(c)(4) because such

claims present only common issues, the resolution of which would advance the interests of the

Class Representatives, the proposed Classes, and the University in an efficient manner.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required, but to the

extent that it contains factual allegations, University denies those allegations.

I.     Nature of Notice to the Proposed Classes Required
       287.    In accordance with Fed. R. Civ. P. 23(c)(2), Rule 23(b)(3) class members must be

furnished with the best notice practicable under the circumstances, including individual notice to

all members who can be identified through reasonable effort. Plaintiffs believe that the

University maintains computer records that contain a last known address for all proposed class

members. Plaintiffs contemplate that individual notice be given to class members at such last

known address by first class mail, informing them of the following:

               a)      The pendency of the class action, and the issues common to the class;

               b)      The nature of the action;




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               c)     A potential class member’s right to “opt out” of the action within a given

                      time, in which event they will not be bound by a decision rendered in the

                      class action;

               d)     A potential class member’s right, if they do not “opt out,” to be

                      represented by their own counsel and enter an appearance in the case;

                      otherwise, they will be represented by the Class Representatives and their

                      counsel; and

               e)     A potential class member’s right, if they do not “opt out,” to share in any

                      recovery in favor of the class, and conversely to be bound by any

                      judgment on the common issues, adverse to the class.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required.

                     III.   ALLEGATIONS OF NAMED PLAINTIFFS

A.     Derick Brown
       288.    Derick Brown is a black employee of the University.

       ANSWER:

       University admits the allegations contained in this paragraph.

       289.    Brown has been employed at the University since 2006 as a Machinist in the F&S

department at UIUC.

       ANSWER:

       University admits the allegations contained in this paragraph.

       290.    Brown’s supervisor, Chris McCoy, and several of Brown’s white coworkers,

subjected him to a racially hostile work environment, including taunting Brown with a makeshift

KKK outfit; directing racial slurs and stereotypes at him; and mocking, threatening, and

intimidating him.

       ANSWER:

       University denies the allegations contained in this paragraph.


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       291.    Brown experienced racial harassment on a daily or near-daily basis.

       ANSWER:

       University denies the allegations contained in this paragraph.

       292.    Brown reported the racist treatment to F&S management and the University’s

OAE department at UIUC.

       ANSWER:

       University admits that Brown reported alleged discrimination to University officials.

University denies the remaining allegations contained in this paragraph.

       293.    Despite the University’s knowledge of the harassment against Brown, it took no

meaningful remedial action.

       ANSWER:

       University denies the allegations contained in this paragraph.

       294.    As a consequence, the racial harassment continued and intensified.

       ANSWER:

       University denies the allegations contained in this paragraph.

       295.    Beginning in or around 2014, the University promoted Chris McCoy to Machine

Shop Foreman. Almost immediately after McCoy’s promotion, he began to use his authority to

racially harass Brown and the only other black employee in the shop, Terry Cole—who upon

information and belief resigned from his position in the Machine shop due to McCoy’s

harassment.

       ANSWER:

       University denies the allegations contained in this paragraph.

       296.    In August 2015, Brown’s coworker, Rocky Atwood, fashioned a KKK hood, put

it on, and taunted Brown—while McCoy laughed along. McCoy did not report the incident to

OAE as required.




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       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegation in this paragraph and on that basis denies them.

       297.    At least five others were present for the incident. One of them, Kendrick Pratt

(deceased), took photos of Atwood wearing the KKK mask and/or just the KKK mask.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       298.    Another witness, James Taylor, provided a sworn statement, at Brown’s request,

corroborating the incident.

       ANSWER:

       University denies the allegations contained in this paragraph.

       299.    The University never disciplined Atwood for his actions.

       ANSWER:

       University denies the allegations contained in this paragraph.

       300.    The University never disciplined McCoy for his failure to report the incident or

for condoning it with his laughter.

       ANSWER:

       University denies the allegations contained in this paragraph.

       301.    Following the KKK incident, the harassment against Brown grew more frequent

and severe.

       ANSWER:

       University denies the allegations contained in this paragraph.

       302.    McCoy regularly yelled and cursed at Brown in front of his coworkers, at times

while using racially-derogatory language, such as referring to Brown as “boy,” or with

stereotypes, such as implying that Brown was lazy or stupid, and calling him “worthless”.




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       ANSWER:

       University denies the allegations contained in this paragraph.

       303.     The following incidents are offered as examples of the type of racist conduct

McCoy engaged in, or encouraged, often.

       ANSWER:

       University denies the allegations contained in this paragraph.

       304.     When Brown explained that he needed assistance with an assignment, McCoy

barked at him: “After thirteen fucking years you should know how to do your job by now!”

McCoy did not belittle or yell at white workers in this manner.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

the allegations contained in this paragraph and on that basis denies them.

       305.     McCoy encouraged other white workers in the shop to similarly harass Brown,

and they did.

       ANSWER:

       University denies the allegations contained in this paragraph.




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       306.    For example, Brown’s coworkers often called him “gay,” “queer,” and made other

comments pertaining to sexual orientation, including in the text message below:




       ANSWER:

       This paragraph appears to contain a photograph of a text message. The photograph

speaks for itself. University denies any remaining allegations in this paragraph.

       307.    One of Brown’s coworkers said that “Mississippi is the gayest state there is” and

that “most of the gays are from Mississippi.” Brown is from Mississippi. McCoy egged the

worker on, adding “I heard about them boys, too.” Brown’s white coworkers did not call each

other gay. McCoy did not refer to whites as boys.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as the truth of the

allegations in this paragraph and on that basis denies them.

       308.    In or around 2016, Brown told McCoy he needed to attend a funeral for a family

member. McCoy responded to the effect of: “I hope they got another coffin for you that way you

won’t come back.” In contrast, when Brown’s white coworker had a death in the family, McCoy

gave a sympathy card signed by the entire shop.



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       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and on that basis denies them.

       309.    On another occasion when Brown was leaving for vacation, McCoy remarked:

“Hopefully you don’t have enough gas to make it back.” McCoy did not make remarks like this

to white employees.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       310.    McCoy regularly screamed at Brown and used profanity towards him to belittle

him and ostracize him in the shop.

       ANSWER:

       University denies the allegations contained in this paragraph.

       311.    For example, when Brown’s coworker was helping him look up a part number,

McCoy made a big scene about how Brown did not know how to use the reference manual, then

instructed the shop that no one help Brown. All workers in the machine shop often rely on each

other’s expertise. White workers are not ridiculed or denied assistance in such situations.

       ANSWER:

       University denies the allegations contained in this paragraph.

       312.    McCoy was more likely to give Brown less desirable job assignments than his

white peers.

       ANSWER:

       University denies the allegations contained in this paragraph.

       313.    For example, Brown was made to work on a ladder at heights of more than twelve

feet without a safety watch. Brown was also assigned so much menial work, such as cleaning

parts, that his coworkers made fun of him, saying he did not perform “real” machinist work.




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McCoy also made Brown perform sewage-pump work almost exclusively so his white coworkers

could work in the field doing replacement work that did not require exposure to sewage.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       314.    McCoy heavily scrutinized and frequently monitored Brown throughout the

workday, often timing his bathroom usage then threatening to dock Brown’s pay for the time he

was in the bathroom. McCoy did not monitor white workers’ bathroom breaks.

       ANSWER:

       University denies the allegations contained in this paragraph.

       315.    The University was aware of the harassment against Brown because he

complained repeatedly to F&S personnel and OAE. Despite Brown’s complaints of

discrimination, the University allowed it to continue.

       ANSWER:

       University admits that Brown has complained alleging racial harassment to F&S

personnel and OAE. Further answering, University states that these complaints were

investigated. University denies the remaining allegations in this paragraph.

       316.    Brown complained to Assistant Superintendent of Operation Maintenance, Ken

Bunting, in late-2016 or early-2017, specifically stating that McCoy was harassing him and

treating him differently because of his race. Bunting defended McCoy, stating McCoy may have

been out of line but he did not think McCoy was racist. Bunting did not report Brown’s

complaint to OAE as required. Bunting held a meeting with McCoy. When he left the meeting,

McCoy taunted Brown with a smirk, mocking Brown’s attempt to McCoy’s racist harassment.

Brown is unaware of any remedial action taken in response to his complaint.




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       ANSWER:

       University admits that Brown has complained alleging racial harassment to F&S

personnel and OAE. Further answering, University states that these complaints were

investigated. University denies the remaining allegations in this paragraph.

       317.    In the spring of 2017, as McCoy’s racial harassment worsened, Brown

complained again to Bunting and Associate Director of Operations, Maintenance, and

Alterations, Dave Bang. Brown complained specifically that McCoy was racially harassing him

and had just yelled at him and cursed him out in front of the entire shop when he asked a

coworker for assistance. He explained that white workers help each other but are never

reprimanded, cursed at, or humiliated. He asked Bunting and Bang to help make McCoy stop his

harassment. Bunting and Bang held a meeting with Brown and McCoy. During the meeting

Brown explained that McCoy was treating him differently because of his race, and that he

deserved to be treated with respect like everyone else. Bunting and Brown said that McCoy

would work on his attitude. During the meeting, Brown asked McCoy, “Is this it?” McCoy said,

“Yes, I don’t want to go back there. Are we cool?” Brown said, “yes” and shook hands with

McCoy. Neither Bunting nor Bang reported Brown’s complaint to OAE as required, and they did

not issue any discipline to McCoy.

       ANSWER:

       University admits that Brown has complained alleging racial harassment to F&S

personnel and OAE. Further answering, University states that these complaints were

investigated. University denies the remaining allegations in this paragraph.

       318.    Despite McCoy’s assurance to Brown, before his managers, that he would stop

harassing him, he continued.

       ANSWER:

       University admits that Brown has complained alleging racial harassment to F&S

personnel and OAE. Further answering, University states that these complaints were

investigated. University denies the remaining allegations in this paragraph.


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       319.    In August 2017, Brown went to Bunting and Bang to complain yet again that the

racism in the Machine shop was getting worse. Brown explained that McCoy was discriminating

against him in assigning work orders, had reassigned him to the shop for thirty days, and had

issued him a negative performance evaluation—his first in over a decade while working at the

University.

       ANSWER:

       University admits that Brown has complained alleging racial harassment to F&S

personnel and OAE. Further answering, University states that these complaints were

investigated. University denies the remaining allegations in this paragraph.

       320.    Bunting and Bang defended McCoy claiming they could not tell McCoy how to

run his shop and defended McCoy’s treatment based on McCoy’s evaluation of Brown’s work.

They said they would talk to McCoy again. It was clear to Brown that neither Bunting nor Brown

were going to help protect him. Brown pleaded with them to understand that McCoy was racially

harassing him. Brown explained that McCoy had witnessed Atwood don a makeshift KKK mask,

laughed along, and failed to report the incident. Bang pressed Brown: “well, are you sure it

happened?” Brown say, “yes.”

       ANSWER:

       University admits that Brown has complained alleging racial harassment to F&S

personnel and OAE. Further answering, University states that these complaints were

investigated. University denies the remaining allegations in this paragraph.

       321.    Bang said they were going to “process” Brown’s complaint. When after a couple

days Brown did not hear anything from Bunting or Bang, he called the UIUC Chancellor’s office

and explained to an assistant how McCoy had been racially harassing him, including that he

laughed along during the KKK incident, and that he had complained to Bunting and Bang

previously, but McCoy continued to racially harass him. The Chancellor’s office said they would

take care of it. About one day later, OAE contacted Brown and initiated its investigation in

August 2017.


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       ANSWER:

       University admits that Brown has complained alleging racial harassment to F&S

personnel and OAE. Further answering, University states that these complaints were

investigated. University denies the remaining allegations in this paragraph.

       322.     In October 2017, consistent with its pattern or practice, the University concluded

that the harassment against Brown did not constitute a violation of the University NDP. the

University reached this conclusion by, inter alia, ignoring evidence that directly corroborated the

KKK incident; ignoring evidence that McCoy referred to blacks pejoratively as “boys;” ignoring

evidence that corroborated Brown’s account of McCoy’s abuse, including McCoy’s own

admissions and witness’s admissions that McCoy yelled and cursed at Brown; and by failing to

look at the totality of the circumstances behind McCoy’s conduct in order to conclude that

McCoy was not motivated by race—notwithstanding evidence of McCoy’s overtly racial

conduct. See supra Section I(A)(i) (detailing how the University expressly permits racial

harassment under the NDP); Section I(A)(iii) (detailing how the University conducts biased

and/or bad faith investigations in order to avoid making harassment findings).

       ANSWER:

       University admits that Brown has complained alleging racial harassment to F&S

personnel and OAE. Further answering, University states that these complaints were

investigated. University denies the remaining allegations in this paragraph.

       323.     While OAE investigated Brown’s complaints, McCoy was placed on leave. The

University named one of McCoy’s cohorts and Brown’s primary harassers, Jerry Donaldson,

Interim Foreman. Donaldson immediately picked up where McCoy left off and began to racially

harass Brown.

       ANSWER:

       University admits that Brown has complained alleging racial harassment to F&S

personnel and OAE. Further answering, University states that these complaints were

investigated. University denies the remaining allegations in this paragraph.


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       324.    Brown complained to Bunting and Bang that he did not feel safe in the shop due

to all the racial animus. They told him to report back if he experienced any issues but did nothing

to prevent further racial harassment.

       ANSWER:

       University admits that Brown has complained alleging racial harassment to F&S

personnel and OAE. Further answering, University states that these complaints were

investigated. University denies the remaining allegations in this paragraph.

       325.    Within days of his complaint to Bunting and Bang, the windshield on Brown’s car

was smashed and his tires were slashed while it was parked at his home. The police told Brown

that were no other similar incidents reported in his neighborhood. McCoy and several of his

coworkers knew where Brown lived. Brown believed that McCoy acted in reprisal for getting

him suspended.

       ANSWER:

       [LKI] University lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph and on that basis denies them.

       326.    Brown reported the incident to F&S management at UIUC, who held a meeting

with the Machine shop to address the treatment of Brown. The meeting was led by Assistant

Superintendent of Operation Maintenance Bunting and Director of Operations, Maintenance &

Alterations Pam Voitick, and included the entire Machine shop staff. The meeting quickly

degraded into a referendum on Brown. Donaldson and Brown’s coworker, Chad Cosack,

vehemently defended McCoy and attacked Brown’s character. Cosack claimed he knew things

about Brown that “he shouldn’t know.” Donaldson protested, explaining that he felt McCoy was

being treated unfairly, then requested to have a private meeting so he and others could raise

complaints.




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       ANSWER:

       University admits that Brown has complained alleging racial harassment to F&S

personnel and OAE. Further answering, University states that these complaints were

investigated. University denies the remaining allegations in this paragraph.

       327.    All of this abuse, and Brown’s first negative performance review, followed his

complaints of racial harassment and prejudice.

       ANSWER:

       University denies the allegations contained in this paragraph.

       328.    Following the meeting, most of Brown’s white coworkers refused to talk with

him, would not sit with him at lunch, and continued to bully him, including calling him gay and

queer—insults they did not direct towards whites—at times while interim supervisor Donaldson

was present, but which he did not report to OAE as required.

       ANSWER:

       University denies the allegations contained in this paragraph.

       329.    In November 2017, the harassment against Brown culminated in his being

effectively forced to seek out a tool attendant position outside of a career track just to escape the

harassment, discrimination, and retaliation, of which the University was aware but refused to

remedy.

       ANSWER:

       University denies the allegations contained in this paragraph.

       330.    Even after his transfer, Brown’s former white coworkers, including McCoy,

continued to ignore him and refused to speak with him even when they came to the tool room.

McCoy, Donaldson, and other of his former white coworkers often stared menacingly at Brown

when they walked by the tool room, which is adjacent to the Machine shop.

       ANSWER:

       [LKI] University lacks knowledge or information sufficient to form a belief as the truth

of the allegations in this paragraph an on that basis denies them.


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B.     Atiba Flemons
       331.    From 2008 to 2009 and from 2011 to present, the University has employed Atiba

Flemons as a Brickmason in the F&S department at UIUC.

       ANSWER:

       University admits the allegations in this paragraph.

       332.    Mr. Flemons is black.

       ANSWER:

       University admits the allegations in this paragraph.

       333.    Throughout Mr. Flemons’ tenure, the University has exposed him and other black

employees to a racially hostile work environment, including racial slurs, stereotypes, jokes,

conduct, and racist imagery, such as nooses and confederate flags.

       ANSWER:

       University denies the allegations contained in this paragraph.

       334.    Flemons experienced some form of racial harassment on a daily or near-daily

basis throughout his tenure at the University.

       ANSWER:

       University denies the allegations contained in this paragraph.
       335.    Flemons has reported the racial harassment to University officials on multiple

occasions, including to F&S management at UIUC, Human Resources at UIUC, the Chancellor’s

office at UIUC, and the University’s OAE department at UIUC.

       ANSWER:

       University admits that Flemons has complained alleging racial harassment to F&S
personnel and OAE. Further answering, University states that these complaints were

investigated. University denies the remaining allegations in this paragraph.

       336.    Despites its knowledge of the racial harassment, the University took no

meaningful remedial action, which led to more intense racial harassment against Flemons.




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        ANSWER:

        University denies the allegations contained in this paragraph.

        337.   Flemons’ supervisor, Bruce Rodgers, racially harassed Flemons starting even

before his first day of employment. On May 7, 2008, Rodgers called Flemons and left a message

for him to return his call. When Flemons called Rodgers back, Rodgers said: “What was the

instruction I gave you!? How can you work for me if you can’t follow my instructions?”

        ANSWER:

        University denies the allegations contained in this paragraph.

        338.   On Flemons [sic] first day of employment, Rodgers suggested that the only reason

he hired Flemons was for “diversity” reasons, claiming the University “made” him hire Flemons,

and that he would have rather hired the Jones brothers instead, who are white.

        ANSWER:

        University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

        339.   In 2009, Flemons and a number of white employees were laid off. Rogers rehired

all of the white employees within six months. After nearly two years, however, Rodgers had still

not called Flemons back to work. Two of Flemons former coworkers told him that Rodgers was

turning down work and hiring contractors instead of bringing Flemons back. Flemons received a

call from a coworker who told him that Rogers said he does not want Flemons back. Rodgers

was actually trying to hire someone else to fill Flemons’ position, but because Flemons had “call

back” rights, Rodgers was unable to replace Flemons before giving him the opportunity.

        ANSWER:

        University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

        340.   In 2011, when Flemons returned to work, the racial harassment resumed and

intensified.




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       ANSWER:

       University denies the allegations contained in this paragraph.

       341.    Rogers regularly made racially disparaging remarks directed to or around

Flemons.

       ANSWER:

       University denies the allegations contained in this paragraph.

       342.    For example, in April 2012, Rodgers was on the phone with someone in Flemons’

presence. Rodgers said to the person: “Don’t worry about that. I got this big black guy in my van

that will tell them not to go that way.” Rodgers then began to laugh hysterically. Flemons and a

white employee who was also present were shocked at the comment.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       343.    On other occasions, Rogers voiced his racist disapproval of a coworker’s niece

who was dating an African-American man, claiming “I just don’t agree with it. I think we should

stick to our own kind.”

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       344.    Some of Flemons’ white coworkers have described racial jokes and comments

that Rogers said, such as “I’ve never had a black guy tell me what to do” or telling someone

“wake up to look at your black guy.”

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       345.    On at least one another occasion, Rogers told Flemons that he would start talking

like Flemons talks, then proceeded to speak in an exaggerated stereotype of black speech. This


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conveyed racial insult, because a reasonable interpretation of this conduct, was that Rogers

believed that blacks were inferior to other races because they used slang and intended to mock

Flemons based on his race.

          ANSWER:

          University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

          346.   Rodgers also mocked and degraded Flemons’ work in comments to other masons,

implying he was lazy and stupid. Lazy is an adjective frequently used by bigots to describe

blacks.

          ANSWER:

          University denies the allegations contained in this paragraph.

          347.   For example, typical of his treatment of Flemons, Rodgers refused to provide

Flemons with a hammer that he needed for a job. Flemons was forced to go buy his own

hammer. When Rodgers saw Flemons with the hammer, Rodgers claimed he had told Flemons

that he would bring him a hammer, and implied that Flemons had hereditary intellectual deficits

that he passed on to his son. Stupidity is another trait ascribed to blacks by racists, based on their

belief that low IQ is inherited.

          ANSWER:

          University denies the allegations contained in this paragraph.

          348.   By way of further example, when Flemons reported to Rogers that he activated a

University identification card so that he could enter buildings without keys, Rogers responded,

“Okay—cool, that’s great.” But, two days later, Rodgers confronted Flemons and yelled at him

for not having keys: “Fuck You! Fuck You! You don’t care. Fuck it then, Fuck it then! How are

          you going to get in the Building without keys?” Several of Flemons’ white coworkers

witnessed the entire event. Rodgers does not curse at white employees like he does to Flemons.

          ANSWER:

          University denies the allegations contained in this paragraph.


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       349.    In April 2012, Flemons was in a Transportation van going to a coworker’s

retirement party. The van stopped to pick up two of Flemons’ white coworkers. Rodgers pulled

up alongside the van and asked what Flemons was doing. After Flemons explained, Rodgers said

okay and pulled away, but suddenly turned around and said: “You know what, I want you

working. Get in my van so I can take you back” and patted the passenger seat. Flemons pleaded

with Rodgers: “Why are you talking to me like that. I am not a child or an animal.” Rodgers

yelled: “I don’t care! Get in the van so I can get you back to work. Get your Ass in the van, I

gave you a direct order, get in the van now!”

       ANSWER:

       University denies the allegations in this paragraph.

       350.    Flemons reported the incident to Human Resources. Flemons had a meeting with

Human Resources, Bruce Rogers, and Roger’s supervisor. Flemons stated specifically that he felt

Rogers was harassing him and that he treated him different than his white coworkers. In

accordance with its pattern or practice, the University did not investigate Flemons’ complaints

and did not discipline Rogers. The racial harassment continued.

       ANSWER:

       University admits that Flemons has complained alleging racial harassment to University

officials. Further answering, University states that these complaints were properly reviewed.

University denies the allegations contained in this paragraph.

       351.    In May 2012, Flemons complained to the University’s OAE department at UIUC

about Rodger’s racial harassment and discrimination.

       ANSWER:

       University admits that Flemons has complained alleging racial harassment to University

officials. Further answering, University states that these complaints were properly reviewed.

University denies the allegations contained in this paragraph.

       352.    Before OAE investigated, it encouraged Flemons to participate in a mediation

with Rogers. However, OAE never informed Flemons that he had a right to an investigation.


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During the mediation, Rogers repeated his derogatory comment about how he only hired

Flemons because he was forced to for diversity reasons. OAE’s Senior Associate Director was

present when Rogers made the “diversity” comment during the mediation.

       ANSWER:

       University denies the allegations contained in this paragraph.

       353.    Following the mediation, Rogers continued to racially harass Flemons. On three

occasions after the mediation, Flemons informed OAE that Rogers harassment continued and

requested an update from OAE. OAE never gave Flemons a straight answer, and it was not until

a coworker informed Flemons—nearly three months after his initial complaint—that he had a

right to an investigation,

       ANSWER:

       University denies the allegations contained in this paragraph.

       354.    In late July 2012, Flemons requested that OAE investigate his complaints.

       ANSWER:

       University admits the allegations contained in this paragraph.

       355.    In January 2013, despite that Rogers admitted to calling Flemons a big black guy

and that he made the derogatory “diversity” comment in the presence of OAE’s Associate

Director, the University concluded Rogers conduct did not violate the University NDP. See

supra Section I(A) (discussing how the University’s NDP expressly permits a threshold level of

racial harassment); Section I(C)(iii) (discussing the University’s policy of conducting biased

and/or bad faith investigations).

       ANSWER:

       University denies the allegations contained in this paragraph.

       356.    Because the University condoned Rogers’ harassment against Flemons, it

continued and grew more intense.

       ANSWER:

       University denies the allegations contained in this paragraph.


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        357.    Rodgers’ harassment towards Flemons set an example for other white coworkers

to follow suit and similarly racially harass Flemons.

        ANSWER:

        University denies the allegations contained in this paragraph.

        358.    One white coworker referred to black employees as “you people.”

        ANSWER:

        University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

        359.    Another of Flemons’ white coworkers, Paul Rutledge, repeatedly harassed

Flemons for months, calling him “boot”—unsubtle shorthand for the racist term “bootlip”— and

“fucking worthless,” and saying, “you must have been the fucking dumbest child when you were

growing up.”

        ANSWER:

        University denies the allegations contained in this paragraph.

        360.    Rutledge at times accompanied his racial treatment with physical intimidation,

such as following Flemons in the hallway or standing unnecessarily close to him on the stairs,

while addressing him in racially harassing terms.

        ANSWER:

        University denies the allegations contained in this paragraph.

        361.    Flemons’ make-up supervisor, Eric Quinly, and supervisor, Bruce Rodgers,

witnessed at least some of Rutledge’s harassment, but did not report it or otherwise take any

steps to stop it.

        ANSWER:

        University denies the allegations contained in this paragraph.

        362.    In June 2014, Flemons was called into OAE and informed that Rutledge had filed

a grievance against him. Flemons explained to OAE that Rutledge was the one engaging in racial

harassment, and that others in the Brick Mason department witnessed it.


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        ANSWER:

        University admits that Rutledge filed a grievance against Flemons and that Flemons filed

a complaint against Rutledge. University lacks knowledge or information sufficient to form a

belief as to the truth of the other allegations contained in this paragraph and on that basis denies

them.

        363.       As discussed in Part I(C), supra, the University did not investigate Flemons’

complaint against Rutledge.

        ANSWER:

        University denies the allegations contained in this paragraph.

        364.       Two days later, Flemons walked out of the labor shop and heard someone behind

him make a comment. When he turned around, he saw Rutledge, who followed Flemons to the

top of the stairs. Standing menacingly close to, Rutledge spat: “You stupid fucking boot.”

        ANSWER:

        University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

        365.       Flemons immediately reported this incident to Mark Barcus, Assistant

Superintendent of Building Maintenance, and advised him that Clint McGraw witnessed the

entire incident.

        ANSWER:

        University admits that Flemons reported an incident to Mark Barcus..

        366.       However, in July 2014, Flemons was informed that the University made a

“credibility determination” and concluded that Flemons allegations against Rutledge were

unfounded, but that Rutledge’s allegations were credible, despite acknowledging that “no-one

saw first-hand or heard the words or gestures alleged by Rutledge.




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       ANSWER:

       University admits that Rutledge filed a grievance against Flemons and that Flemons filed

a complaint against Rutledge. The OAE report regarding those allegations speaks for itself. The

University denies the remaining allegations contained in this paragraph.

       367.    Because OAE conducted a highly partial investigation, in which it ignored

witnesses who would corroborate the incident, the University did not discipline Rutledge, and

the racial harassment against Flemons continued.

       ANSWER:

       University denies the allegations contained in this paragraph.

       368.    At the time of this filing, Flemons coworkers continue to use racially-derogatory

stereotypes, such as calling Flemons “lazy.”

       ANSWER:

       University denies the allegations contained in this paragraph.

       369.    Rogers also excessively scrutinizes Flemons’ daily movements and tells others to

watch him and give him instruction, because of his biased views of the worth of black workers.

       ANSWER:

       University denies the allegations contained in this paragraph.

       370.    For example, in January 2019, Rogers repeatedly questioned Flemons about a

recently purchased vacuum cleaner that Rogers could not find. Despite that Flemons continued to

insist he had not seen the vacuum, Rogers kept pressing him, saying dismissively, “are you sure

you haven’t seen it.” Rogers only asked Flemons white coworkers once and took their word for

it with no scrutiny. Only after a white coworker told Rogers he had not seen the vacuum since it

arrived, Rogers checked his office and found the vacuum cleaner still in the box. Rogers did not

apologize to Flemons for all but outright accusing him of stealing the vacuum cleaner.

       ANSWER:

       University denies the allegations contained in this paragraph.




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        371.     In addition to the pervasive racial harassment as described above, Flemons has

witnessed racially offensive symbols at the University, including the confederate flag.

        ANSWER:

        University lacks knowledge and information sufficient to form a belief as to the truth of

the allegations as to what Flemons observed. University denies the remaining allegations in this

paragraph.

        372.     Flemons is also aware of a class member who works in F&S who was exposed to

a noose in April 2016, when a white work in the Grounds department tied a noose (pictured

above at para. 45) then taunted a black employee with it.

        ANSWER:

        University lacks knowledge and information sufficient to form a belief as to the truth of

allegations regarding what Flemons. University denies the remaining allegations in this

paragraph.

        373.     Following this incident, one of Flemons’ white coworkers told him that the noose

was not a big deal because it was “just a small noose.”

        ANSWER:

        University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

        374.     In March 2017, Flemons observed a confederate flag on a truck parked at the

University inventory store.

        ANSWER:

        University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

        375.     The truck was parked in the employee lot, which requires an employee pass to

enter the lot.




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       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       376.    Again, in June 2017, Flemons witnessed a car with two confederate flag stickers

in its windows, one of which read, “Kiss My Flag,” accompanied by University of Illinois

stickers (picture supra at para. no. 167).

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       377.    The vehicle was regularly parked directly outside the University Press building

where only employees park.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       378.    On June 26, 2017, Flemons submitted a written complaint regarding the flag to

the Director of UIUC OAE, Heidi Johnson, providing images of the vehicle.

       ANSWER:

       University admits that Flemons submitted a written report. The report speaks for itself.

University denies the remaining allegations in this paragraph.

       379.    Johnson acknowledged receipt of Flemons’ complaint; however, despite that

Flemons identified himself as a University employee and followed University policy by bringing

his complaint to OAE, Johnson told Flemons that a student-focused group would be in contact

with him to investigate. No student group ever contacted Flemons.

       ANSWER:

       University admits that Flemons submitted a written report. The report speaks for itself.

To the extent that this paragraph refers to some additional written communication, that

documents speaks for itself. University denies the remaining allegations in this paragraph.


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       380.    Flemons [sic] complaint has never been investigated.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

C.     Jeffrey Taylor
       381.    Jeffrey Taylor has been employed at the University since 2015 as a Culinary

Worker III in the Dining department.

       ANSWER:

       University admits the allegations contained in this paragraph.

       382.    Taylor is black.

       ANSWER:

       University admits the allegations contained in this paragraph.

       383.    Beginning in or around 2016 and continuing presently, several of Taylor’s

supervisors and coworkers subjected him to a racially hostile work environment, including racial

slurs, comments, and race-based conduct.

       ANSWER:

       University denies the allegations contained in this paragraph.

       384.    Taylor experienced racial harassment on a daily or near-daily basis.

       ANSWER:

       University denies the allegations contained in this paragraph.

       385.    Taylor reported the racist treatment he experienced to his supervisors, Human

Resources, and the University’s OAE department at UIUC.

       ANSWER:

       University admits that Taylor alleged racist treatment in reports to University officials.

University denies the remaining allegations in this paragraph.

       386.    Despite its knowledge of the harassment against Taylor, the University took no

meaningful remedial action.


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       ANSWER:

       University denies the allegations contained in this paragraph.

       387.    As a consequence, the racial harassment continued and intensified.

       ANSWER:

       University denies the allegations contained in this paragraph.

       388.    Taylor and other black employees have been repeatedly exposed to racial slurs,

such as the N word.

       ANSWER:

       University denies the allegations contained in this paragraph.

       389.    For example, in or around October 2017, a white Dining supervisor, Kalan

Janowski, wrote on Facebook, “I eat n****s like you” and made a derogatory comment about

black women wearing “weaves” to Taylor’s acquaintance who is black. Janowski identified

himself as a University supervisor on his Facebook page.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       390.    Taylor reported Janowski’s use of the N word to Human Resources and OAE;

however, in accordance with its pattern or practice of ignoring complaints of racial harassment,

the University refused to take any action. Instead, Rita Davis from Human Resources was

dismissive of Taylor’s opposition and explained the University would not discipline Janowski

because it was an off-campus incident based on hearsay—despite that Taylor showed Davis

screenshots of the reaction to Janowski’s message. Davis then suggested Janowski’s use of the

N-word was acceptable because he had a mixed-race relative.

       ANSWER:

       University denies the allegations contained in this paragraph.




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       391.    On another occasion, in March 2018, Taylor’s coworker sent him a message

regarding a workplace disagreement. The coworker called Taylor a “bitch” and used the N word

in a message (pictured supra at para. no. 220).

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       392.    Taylor reported the worker and gave a copy of the text message to Rita Davis.

       However, the University again ignored Taylor’s complaint and failed to discipline the

offender. Davis marginalized Taylor’s report, and callously and needlessly read the message

aloud, including the slurs, during a meeting with Taylor and his supervisors. Davis then

suggested that it was acceptable for Taylor’s coworker to use the N word because she, too, is

black. Human Resources informed Taylor that his coworker would not be disciplined for using

the N word.

       ANSWER:

       University denies the allegations contained in this paragraph.

       393.    Because the University does not discipline employees who use the N word, other

employees understand that racial slurs are acceptable.

       ANSWER:

       University denies the allegations contained in this paragraph.

       394.    In December 2018, Terry Tester, a white Culinary Worker who on Taylor’s shift

directed the N word to a black employee, stating that his child’s favorite word is “n*gga.”

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       395.    The employee told Taylor what happened and reported Tester to Executive Chef

Carrie Anderson. Tester admitted to Anderson that he used the N word and repeated it several

times during his conversation with Anderson, arguing that “once people of color give you the


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okay, you can say n*gga,” and that using the word with the employee was his way of “testing the

waters” with her.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       396.    Anderson reported Tester to her supervisor, Chris Henning. However, the

University refused to terminate Tester, despite that he was already on probation. Instead, the

University claimed that it was an “opportunity to educate people” and issued Tester a “letter of

concern,” which is not disciplinary.

       ANSWER:

       University denies the allegations contained in this paragraph.

       397.    In addition to the N word, Taylor is aware of black colleagues who have been

called “monkey,” a noose that was found in a campus bathroom by a BSW worker, and racist

graffiti, including the swastika that Taylor’s colleague found in Dining in late 2016 (pictured

above at para. 45).

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       398.    In addition to racial slurs and symbols, Taylor and other black employees are

racially harassed by white supervisors.

       ANSWER:

       University denies the allegations contained in this paragraph.

       399.    Taylor’s former supervisor, Don Van Liew, regularly badgered Taylor,

excessively monitored and scrutinized his work and daily movements, policed his tone, used

profanity towards him, and treated him as inferior to his white coworkers.

       ANSWER:

       University denies the allegations contained in this paragraph.


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       400.    For example, in Fall 2017, Van Liew reported Taylor for not being in uniform

despite that Taylor was wearing University-approved attire and that he explained to Van Liew

that he did not have any clean uniforms, which the University is responsible for supplying. On

the same day, Van Liew also reported another black employee for not wearing a uniform but did

not report two white workers who were wearing the same attire as Taylor and the other black

employee.

       ANSWER:

       University denies the allegations contained in this paragraph.

       401.    Taylor complained to Unit Manager Keith Garrett that Van Liew was targeting

black employees for conduct that white workers were not being harassed over. Garrett took no

action to stop Van Liew’s harassment even though he acknowledged that Taylor was wearing

permitted attire.

       ANSWER:

       University denies the allegations contained in this paragraph.

       402.    By way of further example, in Fall 2017, Van Liew would not permit Taylor to

use a pushcart to carry his supplies to his workstation and made him carry the supplies by hand.

Van Liew aggressively snatched a cart from Taylor’s hands then allowed Taylor’s white

coworkers to use push carts to carry their supplies. Push carts are not assigned to any specific

employee but are utilized on a first-come first-served basis.

       ANSWER:

       University denies the allegations contained in this paragraph.

       403.    Van Liew regularly verbally berated Taylor in front of coworkers, often yelling or

using profanity—only to then police Taylor’s tone in response. For example, on one occasion,

Taylor requested Van Liew’s assistance to correct a student worker’s computer mistake. Van

Liew yelled: “What do you need help with!” Taylor explained. Van Liew proceeded to scrutinize

Taylor’s decision to take pre-orders from customers while the computer was down. Van Liew

reported Taylor for apparently raising his voice during the exchange, but it was Van Liew who


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was loud and rude. Taylor is also aware of other black employees whom Van Liew has written

up for allegedly raising their voice. Van Liew does not treat white workers this way.

       ANSWER:

       University denies the allegations contained in this paragraph.

       404.    On another occasion, in 2017, Executive Chef Carrie Anderson held a brief

meeting with Taylor and Van Liew to discuss Taylor’s assignment. Moments later, Van Liew

angrily questioned Taylor why he was doing the assignment. Taylor explained. Van Liew then

wrote Taylor up for allegedly using profanity. Taylor protested the write-up to Unit Manager

Keith Garrett and explained several of his coworkers who were present would confirm that he

did not use profanity. Garret did not ask any of Taylor’s coworkers whether he used profanity

and disciplined Taylor based on Van Liew’s false accusation. Several of Taylor’s white

coworkers regularly use profanity in the workplace but are not written up or otherwise

disciplined.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       405.    Van Liew is often jovial and socializes with white workers but makes black

workers stay busy at all times.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       406.    On one occasion, in Fall 2017, Van Liew was sitting at a station with several

white employees, laughing and joking. He suddenly got up, walked to the adjacent station where

a black employee was working, and made the employee perform an unrelated task just to keep

her busy. He then went back and continued his conversation with the white employees.




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       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       407.    Van Liew regularly surveilled and excessively monitored Taylor, often staring at

Taylor while he worked and even while he was on break. Van Liew would badger Taylor about

what was on his to do list or why he was or was not performing certain tasks. Van Liew would

question Taylor why he was wrapping his food, insinuating that Taylor was trying to steal food.

However, most employees wrap their food to keep it warm. Van Liew did not monitor white

employees like he did Taylor.

       ANSWER:

       University denies the allegations contained in this paragraph.

       408.    Other Dining supervisors also racially harassed Taylor and other black

employees. For example, Taylor witnessed his supervisor, Dale Martin, yell at and aggressively

snatch a black student’s meal card from his hand and accuse him of trying to steal food because

the meal card was not working. Martin then falsely claimed the student hit him. Student meal

cards frequently malfunction. In such situations, Taylor has witnessed Martin give white students

the food they are trying to purchase and record their student number to enter it manually later.

       ANSWER:

       University denies the allegations contained in this paragraph.

       409.    Less than a week after this incident a group of six white students moved a gate to

enter the dining hall after it was closed, and without attempting to use their meal cards, they

began eating food and getting drinks. Martin acknowledged what was taking place but did not try

to approach the students, and simply said, “oh well.”

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.




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       410.    Taylor complained of the difference in treatment between the black student and

the white students during a group meeting with Housing Director Alma Sealine, but she merely

brushed the incident aside. She took no corrective action against Martin and instead parroted

Martin’s false claims about the black student trying to steal food.

       ANSWER:

       University denies the allegations contained in this paragraph.

       411.    Another supervisor reported Taylor for simply telling him that he was not

speaking to the supervisor when the supervisor interrupted Taylor’s conversation with another

employee. About one week later, the same supervisor nearly struck Taylor with an oven door

when he aggressively opened it as Taylor was walking by.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       412.    Taylor complained on several occasions to the University about the racial

harassment that he experienced. Pursuant to its pattern or practice, the University ignored his

complaints, failed to initiate bona fide investigations, and permitted Van Liew’s and others’

harassment of Taylor by concluding the harassment did not violate the University’s

Nondiscrimination Policy.

       ANSWER:

       University denies the allegations contained in this paragraph.

       413.    As a result of the harassment that Taylor experienced, he was forced to change his

schedule significantly to ensure he did not work among supervisors who used racial slurs or who

harassed him, including Janowski and Van Liew. As a consequence, Taylor no longer works in

the advanced cook-to-order Chophouse station or on other shifts where there were significant

overtime opportunities. Taylor’s compensation and career trajectory materially suffered as a

consequence of the racial harassment to which the University subjected him.




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       ANSWER:

       University denies the allegations contained in this paragraph.

       414.    In addition to his complaints to Human Resources (N word) and Garrett

(harassment and disparate treatment), Taylor also complained to the University’s OAE

department at UIUC in October 2017 about the racial harassment that he experienced. While the

investigation remained open, Taylor provided updates to OAE of additional examples of racial

harassment that he experienced during the eight months before OAE issued its report, including

the use of the N word by his coworkers.

       ANSWER:

       University admits that Jeffrey Taylor asserted complaints at various times. University

denies the remaining allegations contained in this paragraph.

       415.    OAE issued its report in July 2018, and pursuant to its written policy, which

allows a base level of harassment, the University concluded that Taylor did not experience a

violation of the University NDP.

       ANSWER:

       University admits that OAE issued a report in July 2018. The report speaks for itself.

University denies the remaining allegations in this paragraph.

       416.    To reach this conclusion, the University failed to look at the totality of

circumstances, instead taking the narrowest view possible of Taylor’s complaints. The report

only addressed Taylor’s complaints with respect to Van Liew. It neither mentioned Taylor’s

complaints about University employees using the N word in October 2017 and March 2018, nor

his complaints about an overall racial climate in Dining. The University also ignored

corroborating evidence provided by several of Taylor’s witnesses, and looked at each of Van

Liew’s actions in isolation.

       ANSWER:

       University denies the allegations contained in this paragraph.




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        417.    Because the University concluded that Taylor did not experience a violation of the

NDP, neither Van Liew or any other employees received discipline.

        ANSWER:

        University denies the allegations contained in this paragraph.

        418.    As a consequence, Taylor and other black employees continue to experience

racial harassment, including by workers who have since use of the N word.

        ANSWER:

        University denies the allegations contained in this paragraph.

  IV.        INDIVIDUAL CLAIMS OF NAMED PLAINTIFFS NOT ENCOMPASSED BY
                               THE CLASS CLAIMS

A.      Derick Brown

        i.      Retaliation
        419.    As more fully set forth in Section III(A), supra, the University subjected Mr.

Brown to years of racial harassment. Brown’s white coworkers and supervisors exposed him to

racially-violent symbols, including a mock-KKK mask; used racial stereotypes, such as making

comments to imply Brown was lazy and stupid; used racial language, such as “boy;” yelled,

cursed at, and belittled Brown because of his race; ignored and ostracized him; excessively

scrutinized his daily movements, including timing his bathroom usage; and made him perform

the worst assignments, such as cleaning sewage pumps while white workers performed field

work that did not require exposure to sewage.

        ANSWER:

        University denies the allegations contained in this paragraph.

        420.    Brown complained to F&S management and OAE about the racial harassment

that he experienced from his supervisor and coworkers. As a result, he was subjected to

retaliation, including adverse actions designed to punish, intimidate, and discourage Brown and

others from reporting harassment, such as increasingly hostile harassment, increased scrutiny,

negative employment evaluations, job reassignment, vandalism of property, threats and



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intimidation, and ultimately forcing Brown to seek a transfer out of his trade in the Machine

shop.

        ANSWER:

        University denies the allegations contained in this paragraph.

        421.   Brown complained to Assistant Superintendent of Operation Maintenance Ken

Bunting in late-2016 or early-2017. Brown told Bunting that McCoy was racially harassing him.

Bunting held a meeting with McCoy to discuss Brown’s complaint. Following the meeting,

McCoy taunted Brown.

        ANSWER:

        University denies the allegations contained in this paragraph.

        422.   Following Brown’s complaint, McCoy intensified his harassment. McCoy heavily

scrutinized Brown’s work and made it a point to expose any perceived shortcomings or

weaknesses in Brown’s knowledge to the entire shop to embarrass and ostracize him.

        ANSWER:

        University denies the allegations contained in this paragraph.

        423.   Brown complained again to Bunting, and also to the Associate Director of

Operations, Maintenance, and Alterations, Dave Bang, in spring 2017. Brown explained that

McCoy’s racial harassment had become worse. Bunting and Bang held a meeting with Brown

and McCoy. During the meeting, Brown explained that he felt that McCoy treated him

differently than white workers, including that McCoy frequently yelled and cursed at him but

that McCoy did not do that to Brown’s white coworkers.

        ANSWER:

        University denies the allegations contained in this paragraph.

        424.   During the meeting, McCoy apologized to Brown, but he nonetheless amplified

his harassment following the meeting.

        ANSWER:

        University denies the allegations contained in this paragraph.


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       425.    Upon information and belief, McCoy told Brown’s coworkers that Brown had

reported him for racial harassment. His coworkers stopped talking to him, alienated him in the

shop, and lobbied McCoy to give Brown worse assignments. McCoy reassigned Brown to the

shop for thirty days, disallowing him to participate in assignment rotation like his white

coworkers who did not complain of racial harassment. While Brown’s white coworkers worked

outside of the shop, Brown was assigned the most menial and disgusting shop work that no one

wanted to perform, such as cleaning parts or working on sewage pumps. His coworkers began to

mock him for not being a real machinist.

       ANSWER:

       University denies the allegations contained in this paragraph.

       426.    In August 2017, Brown complained again to Bunting and Bang that McCoy’s

treatment of him was getting worse. Brown explained that McCoy was discriminating against

him in assigning work orders, reassigned him to the shop for thirty days, and issued him a

negative performance evaluation—his first in over a decade of employment at the University.

Brown also explained that McCoy had witnessed Rocky Atwood don a makeshift KKK hood,

laughed along while Atwood taunted Brown, and failed to report the incident.

       ANSWER:

       University denies the allegations contained in this paragraph.

       427.    McCoy was placed on temporary leave while OAE investigated Brown’s

complaints. Brown’s coworkers ensured that Brown paid a price for complaining of

discrimination. Brown reported to Bunting and Bang that he did not feel safe in the shop,

considering Jerry Donaldson—McCoy’s cohort who also harassed Brown—was named the

interim supervisor. Bunting and Bang told Brown to report back if he experienced any issues but

did nothing to protect Brown.

       ANSWER:

       University denies the allegations contained in this paragraph.




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       428.    Within days, Brown’s car was vandalized at his home. His tires were slashed, and

his windshield was cracked. McCoy and several of his coworkers knew where he lived. The

police told Brown that no one else in his neighborhood reported similar vandalism.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       429.    Brown believes the vandalism was intended as a violent warning to back off his

complaints of racial harassment and punishment for complaining.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       430.    Brown reported what happened to F&S management who held a meeting with the

entire Machine shop to address retaliation against Brown. However, Donaldson and Brown’s

coworker, Chad Cosack, hijacked the meeting to defend McCoy and attack Brown. Cosack

claimed knew things about Brown that “he shouldn’t know.” Donaldson said that McCoy was

being treated unfairly and demanded a private meeting so he and others could raise complaints

against Brown.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       431.    Thereafter, most of his coworkers would not speak to him or sit with him at lunch.

When the University concluded that McCoy’s behavior did not constitute a violation of the

University NDP, the University allowed McCoy to return to the Machine shop.

       ANSWER:

       University admits OAE issued a report regarding the incident and that McCoy

subsequently continued to work in the Machine shop. The report speaks for itself. University

denies the remaining allegations in this paragraph.


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        432.    Because the University refused to protect Brown from McCoy and other’s racial

harassment and retaliation for his opposition, Brown had no choice but to protect himself and

requested a transfer to a tool attendant position in spite of the fact that he is a skilled machinist.

        ANSWER:

        University denies the allegations contained in this paragraph.

        433.    Even his transfer has not stopped McCoy, Donaldson, and others from mistreating

Brown in retaliation for his opposition. McCoy and Donaldson frequently stared at Brown

menacingly when they passed the tool room where Brown now works.

        ANSWER:

        University denies the allegations contained in this paragraph.

        434.    In November 2018, a white worker, Ron Clair, came to the toolroom and

attempted to intimidate Brown for his opposition to McCoy’s racial harassment, exclaiming to

Brown that what he did to McCoy was “just wrong.”

        ANSWER:

        University denies the allegations contained in this paragraph.

        435.    In December 2018, Brown locked the Toolroom and was preparing to go to lunch.

All of a sudden, Clair entered the Toolroom through a locked door connecting the Toolroom to

the Machine Shop. Clair looked at Brown, grabbed a tool, and exclaimed loudly as he walked

out: “You closed the tool room pretty early, huh!?”

        ANSWER:

        University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

        436.    Employees are not permitted to have unsupervised access to the Toolroom. Brown

learned that one of his former harassers, Chad Cosack, provided the key to Clair to enter the Tool

Room.




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       ANSWER:

       University admits access to the toolroom is restricted. University denies the remaining

allegations in this paragraph.

       437.    Brown reported to F&S Management that he feared for his safety because Clair

made previous comments about Brown’s opposition to racial harassment and should not have

entered the Toolroom when it was locked.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       438.    But for Brown’s opposition to racial harassment and discrimination, he would not

have been physically threatened and subjected to the several adverse actions described above.

       ANSWER:

       University denies the allegations contained in this paragraph.

       439.    The University’s conduct following Brown’s complaints about racial harassment

has a chilling effect that would dissuade other employees. from reporting harassment and

discrimination.

       ANSWER:

       University denies the allegations contained in this paragraph.

B.     Atiba Flemons
       i.      Disparate Treatment
       440.    Because Mr. Flemons is black, the University discriminated against him with

respect to promotion opportunities, discipline, and compensation.

       ANSWER:

       University denies the allegations contained in this paragraph.

       441.    In October 2015, Mr. Flemons attempted to update his University application so

he could take the Foreman’s Civil Service exam. However, University Human Resources




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disallowed Flemons from updating his application, claiming that he was not qualified to become

a Foreman or Sub Foreman because he did not have enough experience.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       442.    Mr. Flemons had two more years of relevant experience than his present Sub

Foreman, Eric Quinly, who is white, and who took the test shortly before Flemons attempted to.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       443.    Sub Foremen make an extra $1.50 per hour when they are performing the role.

       ANSWER:

       University denies the allegations contained in this paragraph because the relative

references are unclear.

       444.    Flemons has also been repeatedly denied overtime opportunities when white

workers were offered overtime.

       ANSWER:

       University denies the allegations contained in this paragraph.

       445.    Flemons’ Foreman, Bruce Rogers, has discretion with respect to whom, how, or

whether to distribute overtime.

       ANSWER:

       University admits that Foremen are involved in overtime decisions for employees that

they supervise. University denies the remaining allegations in this paragraph.

       446.    By way of example only, on some occasions, Rogers would offer overtime to

white workers Eric Quinly or Bill Mastey, but they would decline. Rogers would work the

overtime himself instead of giving Flemons the opportunity.




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       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       447.    On another occasion, Rogers called four white workers offering overtime, but

never asked Flemons. Rogers then stated that he could not find anyone to work the overtime,

even though Flemons was already assigned to the project in which overtime was required. The

Building Inspector witnessed Rodgers’ discrimination in assigning the overtime and rescinded

the overtime request.

       ANSWER:

       University lacks information or knowledge sufficient to form a belief as to the truth of

the allegations in this paragraph.

       448.    Rogers will sometimes hire contractors instead of offering overtime to Flemons or

make overtime requests on days in which he knows Flemons cannot work overtime.

       ANSWER:

       University denies the allegations contained in this paragraph.

       449.    By way of example only, in December 2016, Rogers asked if Flemons would

work overtime immediately following Christmas. Given the shop was closed during the holidays,

both Flemons and his coworker Eric Quinly refused.

       ANSWER:

       University lacks information or knowledge sufficient to form a belief as to the truth of the

allegations in this paragraph.

       450.    Instead of rescheduling the overtime to a time when Flemons could work, Rogers

worked the overtime himself.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.




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       ii.     Retaliation
       451.    As set forth more fully in Section III(b) supra, the University subjected Mr.

Flemons to years of racial harassment and discrimination. Among other racial harassment,

Flemons’ white supervisor and coworkers used racially derogatory language such as referring to

Flemons as a “big black guy;” used racial stereotypes, for example, calling Flemons lazy or

implying that he had a hereditary lack of intelligence; yelling and cursing at him; issuing

unwarranted discipline; and excessively scrutinizing and monitoring Flemons throughout the

day.

       ANSWER:

       University denies the allegations contained in this paragraph.

       452.    Flemons repeatedly opposed Rodgers’ and others’ racial harassment on numerous

occasions.

       ANSWER:

       University denies the allegations contained in this paragraph.

       453.    As a result of Flemons’ opposition, Rodgers retaliated against Flemons by

subjecting him to increasingly hostile harassment and discrimination, providing negative

performance evaluations, and issuing him unwarranted discipline in an effort to punish,

intimidate, and discourage Flemons and others from reporting harassment

       ANSWER:

       University denies the allegations contained in this paragraph.

       454.    By way of example only, following Flemons’ complaints in 2012 regarding

Foreman Rogers harassment and discrimination, Rogers has consistently evaluated Flemons

poorly. Prior to his complaints of harassment, Rogers did not negatively evaluate Flemons.

       ANSWER:

       University denies the allegations contained in this paragraph.

       455.    Upon information and belief, Rogers evaluates Flemons’ white coworkers

positively.



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       ANSWER:

       University denies the allegations contained in this paragraph.

       456.    Rogers also wrote up Flemons or threatened discipline for behavior for which

white employees were not written up.

       ANSWER:

       University denies the allegations contained in this paragraph.

       457.    Rogers has denied Flemons overtime opportunities due to Flemons opposition to

his harassment and discrimination.

       ANSWER:

       University denies the allegations contained in this paragraph.

       458.    Rogers’ increased racial harassment, threats, discipline, negative evaluations, and

denial of overtime against Flemons is designed to punish him for his complaints of racial

harassment and silence him and other black employee from making complaints in the future.

       ANSWER:

       University denies the allegations contained in this paragraph.

       459.    But for Flemons opposition to Rodgers’ and others’ racial harassment, he would

not have been exposed to the material adverse actions described above.

       ANSWER:

       University denies the allegations contained in this paragraph.

       460.    The University’s actions against Flemons has a chilling effect that would dissuade

a reasonable employee from reporting harassment and discrimination.

       ANSWER:

       University denies the allegations contained in this paragraph.

C.     Jeffrey Taylor
       i.      Disparate Treatment
       461.    The University subjected Mr. Taylor to discrimination with respect to promotion

opportunities and discipline.


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         ANSWER:

         University denies the allegations contained in this paragraph.

         462.   In early 2016, the University advertised two head cook positions, which paid $19-

21 per hour and required two years of prior experience in quantity cooking. Taylor was qualified

for the positions. Based on Taylor’s skills and qualifications, his head chef encouraged him to

apply.

         ANSWER:

         University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

         463.   Taylor applied online. However, University Human Resources sent Taylor a

letter, which explained that he could not sit for the Civil Service test because he did not have

enough prior experience. Taylor has worked in restaurants since 2006, which includes several

years of experience in high-quantity kitchens, including kitchens where production was

comparable or greater to UIUC’s largest dining facility, Ikenberry, where Taylor worked.

         ANSWER:

         University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

         464.   In or around summer 2016, Taylor learned that two white employees were

promoted to the head cook position, including Carl Joyce who had less experience than Taylor,

and who started at the University after Taylor.

         ANSWER:

         University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

         465.   Because Mr. Taylor is black, the University denied him a promotional opportunity

to a position for which he was qualified and to which the University promoted a lesser qualified

white applicant.




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       ANSWER:

       University denies the allegations contained in this paragraph.

       466.    Taylor and other black employees are also disciplined more severely than white

workers for the same conduct and/or issued discipline for alleged conduct in which white

workers engage but for which they are not disciplined, relating to University’s uniform policy,

use of profanity, and/or verbal tone.

       ANSWER:

       University denies the allegations contained in this paragraph.

       467.    By way of example only, in October 2017, Don Van Liew reported Taylor and

another black employee for wearing black pants and University polo shirts instead of the typical

uniform consisting of a white jacket.

       ANSWER:

       University lacks information or knowledge sufficient to form a belief as to the truth of the

allegations in this paragraph.

       468.    Van Liew did not report two white employees who were dressed like Taylor.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.

       469.    Unit Manager Garrett admitted to OAE that “it is acceptable for cooks to wear

black slacks, a University issued polo shirt, and slip-resistant shoes when they are out of clean

uniforms. Otherwise, all cooks are expected to be in uniform.”

       ANSWER:

       University lacks information or knowledge sufficient to form a belief as to the truth of the

allegations in this paragraph.

       470.    Van Liew himself admitted to OAE that he is twice as likely to report black

employees for not wearing white jackets as he is white employees when he provided a list of

employees with whom he has had corrective contact regarding uniforms. Including Taylor, the


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list was comprised of six black employees and just three white employees, despite that in 2017

when this incident occurred, white food service employees outnumbered black employees.

       ANSWER:

       University denies the allegations contained in this paragraph.

       471.    Taylor has also received discipline for his “tone” or for allegedly using profanity.

       ANSWER:

       University admits that Taylor has been disciplined for using profanity. University denies

the remaining allegations in this paragraph.

       472.    White workers, in contrast, do not have their tone policed and are not written up

like Taylor and other black employees.

       ANSWER:

       University denies the allegations contained in this paragraph.

       473.    Several of Taylor’s white coworkers, such as Heather Fairbanks, regularly use

profanity out loud in the workplace or talk back to supervisors but are not disciplined.

       ANSWER:

       University denies the allegations in this paragraph.

       ii.     Retaliation
       474.    As set forth more fully in Section III(c), supra, the University subjected Taylor to

years of racial harassment. Among other racial harassment, several of Taylor’s coworkers have

openly used the N word around and to Taylor; have referred to black employees as “monkey”

and made racial graffiti, including swastikas in Taylor’s department; his supervisors police his

tone; yell and curse at him; and regularly badger and scrutinize black employees while allowing

white employees to perform their jobs without any interruption.

       ANSWER:

       University denies the allegations in this paragraph.




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       475.    Taylor has reported the racial harassment and discrimination that he experienced

to his supervisors, the Director of Housing, Human Resources, and the University’s OAE

department at UIUC.

       ANSWER:

       University admits that Taylor has reported alleged harassment. University denies the

remaining allegations in this paragraph.

       476.    Because of Taylor’s protected activity, the University has subjected Taylor to

adverse actions designed to punish, intimidate, and discourage Taylor and other black employees

from reporting racial harassment, including additional and more intense harassment and

discipline for infractions he did not commit or for which workers who do not complain of

harassment and discrimination were not disciplined.

       ANSWER:

       University denies the allegations contained in this paragraph.

       477.    For example, in or around October 2017, Taylor reported to Dining management

and Human Resources that a University Dining supervisor, Kalan Janowski, used the N word and

other racially derogatory language towards Taylor’s black acquaintance. Taylor had a meeting

with Rita Davis from Housing Human Resources and Dining Associate Director Chris Henning,

during which the University informed Taylor it would not discipline Janowski. Taylor left the

meeting with the impression that he himself was in trouble for reporting the incident because

Davis and Henning were dismissive of Taylor’s concerns and intimidating in the tone and nature

of the way they “interrogated” him about his knowledge of the incident.

       ANSWER:

       University lacks information or knowledge sufficient to form a belief as to the truth of the

allegations in this paragraph.

       478.    Within weeks of his complaint, Taylor’s supervisors increased their harassment,

which included Van Liew aggressively approaching Taylor, yelling at him, then reporting Taylor

to Unit Manager Keith Garrett for being out of uniform, even though he was wearing University-


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approved attire. Taylor complained to Garrett that Van Liew was racially harassing him.

Following Taylor’s complaint to Garrett, Van Liew approached Taylor and claimed that Taylor

had “lied” to Garrett about whether he was in uniform or not.

       ANSWER:

       University denies the allegations contained in this paragraph.

       479.    Over the weeks and months following Taylor’s complaints, including his

complaint to Garrett, Van Liew continued to racially harass him, including constantly monitoring

him, watching him, and loudly questioning and scrutinizing Taylor throughout the day.

       ANSWER:

       University denies the allegations contained in this paragraph.

       480.    As a result of Van Liew’s retaliatory racial harassment, Taylor was constructively

reassigned, when had no choice but to request that his assignments and shifts be changed to

protect himself from Van Liew, resulting in economic hardship to Taylor since he was no longer

able to work assignments and shifts that provided lucrative overtime opportunities.

       ANSWER:

       University denies the allegations contained in this paragraph.

       481.    In late-October 2017, Housing Director Alma Sealine held a meeting with the

staff in the Ikenberry dining facility. Taylor voiced his concern about recent racial incidents in

Dining, including that black diners were being harassed and treated differently than white diners.

Taylor explained a white supervisor, Dale Martin, recently denied a black student service and

accused him of trying to steal food when the student’s meal card malfunctioned, but that in

contrast, white supervisors worked with white students in similar situations to make sure they got

their meals and did not accuse them of stealing.

       ANSWER:

       University lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and on that basis denies them.




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       482.    Sealine brushed off Taylor’s complaints during the meeting and claimed that

Martin’s actions were appropriate because the black student was trying to steal.

       ANSWER:

       University denies the allegations contained in this paragraph.

       483.    Taylor filed a complaint with OAE in October 2017 about his supervisors’ and

coworkers’ racial harassment and discrimination against him. Taylor updated his complaint

throughout much of 2018.

       ANSWER:

       University admits that Taylor has filed complaints from time to time. University denies

the remaining allegations contained in this paragraph.

       484.    As a result of his complaints, Taylor’s supervisors intensified their racial

harassment, including by closely monitoring all of his daily movement and work. For example,

Taylor’s supervisors would regularly question the work that he was doing and why, and when he

explained they would double check his explanation, police his tone and report him for raising his

voice. Taylor has received written discipline and probation for “tone” infractions following his

complaints of discrimination.

       ANSWER:

       University denies the allegations contained in this paragraph.

       485.    White workers and workers who did not complain of discrimination were not

treated this way.

       ANSWER:

       University denies the allegations contained in this paragraph.

       486.    But for Taylor’s opposition to racial harassment, he would not have been

subjected to the adverse actions described above.

       ANSWER:

       University denies the allegations contained in this paragraph.




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       487.    The University’s actions against Taylor for his complaints of harassment and

discrimination have a chilling effect that would dissuade a reasonable employee from reporting

harassment and discrimination.

       ANSWER:

       University denies the allegations contained in this paragraph.

                                 V.     CLAIMS FOR RELIEF
                                      First Claim for Relief

                      Hostile Work Environment in Violation of Title VII
                    (On Behalf of Named Plaintiffs and the Proposed Classes)
       488.    Plaintiffs incorporate by reference each of the foregoing paragraphs.

       ANSWER:

       University incorporates by reference each of the foregoing answers.

       489.    The foregoing conduct violates Title VII of the Civil Rights Act of 1964.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent a response is required, University denies the allegations in this paragraph.

       490.    The University has engaged in illegal, intentional discrimination on the basis of

race by maintaining policies, practices, and/or procedures that create, tolerate, and perpetuate a

hostile work environment based on race against the Plaintiffs and members of the proposed

Classes.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent a response is required, University denies the allegations in this paragraph.

       491.    Plaintiffs and members of the proposed Classes have repeatedly and explicitly

complained to the University about racial harassment.




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       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent a response is required, University denies the allegations in this paragraph.

       492.    Despite the University’s notice of the harassment and discrimination perpetrated

against black employees, it has failed to take adequate remedial measures.

       ANSWER:

       University denies the allegations contained in this paragraph.

       493.    As a consequence of Defendant’s policies, practices, and/or procedures, the

Plaintiffs have suffered severe emotional distress.

       ANSWER:

       University denies the allegations contained in this paragraph.

       494.    Defendant’s actions proximately caused the Named Plaintiffs’ and Class

members’ injuries.

       ANSWER:

       University denies the allegations contained in this paragraph.

       495.    Plaintiffs request relief as provided in the Prayer for Relief below.

       ANSWER:

        This paragraph contains legal conclusions to which no response is required. To the

extent a response is required, University denies the allegations in this paragraph.

                                     Second Claim for Relief

              Hostile Work Environment in Violation of the Illinois Civil Rights Act
                    (On Behalf of Named Plaintiffs and the Proposed Classes)
       496.    Plaintiffs incorporate by reference each of the foregoing paragraphs.

       ANSWER:

       University incorporates by reference each of the foregoing answers.

       497.    The foregoing conduct violates the Illinois Civil Rights Act.




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       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent a response is required, University denies the allegations in this paragraph.

       498.    The University has engaged in illegal, intentional discrimination on the basis of

race by maintaining policies, practices, and/or procedures that create, tolerate, and perpetuate a

hostile work environment based on race against the Plaintiffs and members of the proposed

Classes.

       ANSWER:

        University denies the allegations contained in this paragraph.

       499.    Plaintiffs and members of the proposed Classes have repeatedly and explicitly

complained to the University about racial harassment.

       ANSWER:

       University denies the allegations contained in this paragraph.

       500.    Despite the University’s notice of the harassment and discrimination perpetrated

against black employees, it has failed to take adequate remedial measures.

       ANSWER:

       University denies the allegations contained in this paragraph.

       501.    As a consequence of Defendant’s policies, practices, and/or procedures, the

Plaintiffs have suffered severe emotional distress.

       ANSWER:

       University denies the allegations contained in this paragraph.

       502.    Defendant’s actions proximately caused the Named Plaintiffs’ and Class

members’ injuries.

       ANSWER:

       University denies the allegations contained in this paragraph.

       503.    Plaintiffs request relief as provided in the Prayer for Relief below.




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       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent a response is required, University denies the allegations in this paragraph.

                                      Third Claim for Relief

                               Retaliation in Violation of Title VII
              (On Behalf of Named Plaintiffs Individually for their Non-Class Claims)
       504.     Plaintiffs incorporate by reference each of the foregoing paragraphs.

       ANSWER:

       University incorporates by reference each of the foregoing answers.

       505.     Plaintiffs engaged in protected activity by complaining about racial

discrimination.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent a response is required, University denies the allegations in this paragraph.

       506.     The University engaged in illegal retaliation by, inter alia, intensifying the

racially hostile work environment against Plaintiffs, threats and intimidation against Plaintiffs,

issuing negative performance evaluations, forcing Brown and Taylor to seek a transfer to

different department and/or shifts, denying overtime and promotional opportunities to Flemons

and Taylor, and issuing discipline to Flemons and Taylor.

       ANSWER:

       University denies the allegations contained in this paragraph.

       507.     Defendant’s retaliatory conduct in response to Plaintiffs’ protected activity has a

chilling effect that acts as a deterrent to other employees from making complaints of

discrimination.

       ANSWER:

       University denies the allegations contained in this paragraph.




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       508.    As a consequence of the University’s conduct, Plaintiffs suffered severe

emotional distress and economic loss.

       ANSWER:

       University denies the allegations contained in this paragraph.

       509.    Defendant’s actions proximately caused Plaintiff’s injuries.

       ANSWER:

       University denies the allegations contained in this paragraph.

                                     Fourth Claim for Relief

                     Retaliation in Violation of the Illinois Civil Rights Act
           (On Behalf of the Named Plaintiffs Individually for their Non-Class Claims)
       510.    Plaintiffs incorporate by reference each of the foregoing paragraphs.

       ANSWER:

       University incorporates by reference each of the foregoing answers.

       511.    Plaintiffs engaged in protected activity by complaining about racial

discrimination.

       ANSWER:

       This paragraph contains legal conclusions to which no response is required. To the

extent a response is required, University denies the allegations in this paragraph.

       512.    The University engaged in illegal retaliation by, inter alia, intensifying the

racially hostile work environment against Plaintiffs, threats and intimidation against Plaintiffs,

issuing negative performance evaluations, forcing Brown and Taylor to seek a transfer to

different department and/or shifts, denying overtime and promotional opportunities to Flemons

and Taylor, and issuing discipline to Flemons and Taylor.

       ANSWER:

       University denies the allegations contained in this paragraph.




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       513.    Defendant’s retaliatory conduct in response to Plaintiffs’ protected activity has a

chilling effect that acts as a deterrent to other employees from making complaints of

discrimination.

       ANSWER:

       University denies the allegations contained in this paragraph.

       514.    As a consequence of the University’s conduct, Plaintiffs suffered severe

emotional distress and economic loss.

       ANSWER:

       University denies the allegations contained in this paragraph.

       515.    The University’s actions proximately caused Plaintiff’s injuries.

       ANSWER:

       University denies the allegations contained in this paragraph.

                                     Fifth Claim for Relief

                         Disparate Treatment in Violation of Title VII
     (On Behalf of Plaintiffs Flemons and Taylor Individually for their Non-Class Claims)
       516.    Plaintiff Flemons and Taylor incorporate by reference each of the foregoing

paragraphs.

       ANSWER:

       University incorporates by reference each of the foregoing answers.

       517.    The University discriminated against Plaintiffs Flemons and Taylor by, inter alia,

treating them differently and worse than similarly-situated white employees in promotion,

discipline, and overtime opportunities.

       ANSWER:

       University denies the allegations contained in this paragraph.

       518.    As a consequence of the University’s conduct, Plaintiffs suffered economic injury

and emotional distress.




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       ANSWER:

       University denies the allegations contained in this paragraph.

       519.    Defendant’s actions proximately caused Plaintiffs’ injuries.

       ANSWER:

       University denies the allegations contained in this paragraph.

                                     Sixth Claim for Relief

                Disparate Treatment in Violation of the Illinois Civil Rights Act
    (On Behalf of the Plaintiffs Flemons and Taylor Individually for their Non-Class Claims)
       520.    University incorporates by reference each of the foregoing answers.

       ANSWER:

       University incorporates by reference each of the foregoing answers.

       521.    The University discriminated against Plaintiffs Flemons and Taylor by, inter alia,

treating them differently and worse than similarly-situated Caucasian employees in promotion,

discipline, and overtime opportunities.

       ANSWER:

       University denies the allegations contained in this paragraph.

       522.    As a consequence of the University’s conduct, Plaintiffs Flemons and Taylor

suffered economic injury and emotional distress.

       ANSWER:

       University denies the allegations contained in this paragraph.

       523.    Defendant’s actions proximately caused Plaintiff’s injuries.

       ANSWER:

       University denies the allegations contained in this paragraph.

                               VI.     RELIEF ALLEGATIONS
       524.    Plaintiffs and the Classes they represent have no plain, adequate or complete

remedy at law to redress the wrongs alleged herein, and the injunctive relief sought in this action

is the only means of securing complete and adequate relief. Plaintiffs and the Classes they



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represent are now suffering and will continue to suffer irreparable injury from the University’s

discriminatory acts and omissions.

       ANSWER:

       University denies the allegations contained in this paragraph.

                             VII.    DEMAND FOR JURY TRIAL
       525.    Plaintiffs hereby demand trial of their claims by jury to the extent authorized by

law.

       ANSWER:

        This paragraph contains legal conclusions to which no response is required. To the

extent a response is required, University denies the allegations in this paragraph.

                                VIII. PRAYER FOR RELIEF
       526.    WHEREFORE, Plaintiffs and the proposed Classes pray for relief as follows:

       ANSWER:

        This paragraph contains legal conclusions to which no response is required. To the

extent a response is required, University denies the allegations in this paragraph.

       527.    Certification of the Classes under Rules 23(b)(2), 23(b)(3) and 23(c)(4), and

designation of the Plaintiffs Derick Brown, Atiba Flemons, and Jeffrey Taylor as representatives

of the Classes, and their counsel of record as Class Counsel;

       ANSWER:

       University denies that Plaintiffs have described classes that can be certified under Rules

23(b)(2), 23(b)(3) or 23(c)(4). University denies that Derick Brown, Atiba Flemons, or Jeffrey

Taylor are legally adequate to serve as representatives of the putative classes. University denies

that Plaintiffs’ counsel of record are legally adequate to serve as Class Counsel.

       528.    Compensatory and lost compensation damages for all class members arising from

the racially hostile work environment;




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          ANSWER:

          University denies that Plaintiffs or putative class members are entitled to compensatory

or lost compensation damages. University denies any remaining allegations in this paragraph.

          529.   Lost compensation, due to disparate treatment, termination, retaliation and

constructive termination, and compensatory damages, if warranted, for each Plaintiff, for claims

they assert, if any, different than class claims;

          ANSWER:

          University denies that Plaintiffs or putative class members are entitled to compensatory

or lost compensation damages. University denies any remaining allegations in this paragraph.

          530.   Punitive damages;

          ANSWER:

          University denies that Plaintiffs or putative class members are entitled to punitive

damages.

          531.   A preliminary and permanent injunction against Defendant and its directors,

officers, owners, agents, successors, employees and representatives, and any and all persons

acting in concert with them, from maintaining a hostile work environment on the basis of race.

Such relief at minimum should include implementation of effective policies to prevent and

correct racial harassment, including amending the University’s definition of harassment,

institution of mandatory training to University investigators as to findings and conclusions of

impermissible conduct under the University’s NDP’s, effective avenues for reporting harassment

and measures to prevent retaliation; implementation of mandatory training regarding harassment

for all of Defendant’s managerial and non-managerial employees; and implementation of

effective discipline for harassment; Plaintiffs reserve the right to expand the scope of injunctive

relief sought, as necessary, as discovery progresses;

          ANSWER:

          University denies that Plaintiffs or putative class members are entitled to any injunctive

relief.


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        532.    A declaratory judgment that the practices complained of in this Amended

Complaint violate Title VII and ICRA;

        ANSWER:

        University denies that Plaintiffs or putative class members are entitled to any declaratory

judgment.

        533.    Costs incurred, including reasonable attorneys’ fees, to the extent allowable by

law;

        ANSWER:

        University denies that Plaintiffs or putative class members are entitled to any costs.

University denies any remaining allegations in this paragraph.

        534.    Pre-Judgment and Post-Judgment interest, as provided by law; and

        ANSWER:

        University denies that Plaintiffs or putative class members are entitled to pre-judgment or

post-judgment interest.

        535.    Such other and further legal and equitable relief as this Court deems necessary,

just and proper.

        ANSWER:

        University denies that Plaintiffs or putative class members are entitled to any legal or

equitable relief.



                    UNIVERSITY’S AFFIRMATIVE AND OTHER DEFENSES

        Based on the knowledge and information available to date, University asserts the

following defenses and reserves the right to assert other defenses or claims when and if they

become appropriate and/or available in this action. University does not admit that it has the

burden of proof on any of the defenses alleged herein. University designates all denials to the

Complaint set forth above as defenses, if necessary, for its full defense of this matter.


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          1.   The Complaint, and each purported claim for relief alleged therein, is barred to

the extent that Plaintiffs failed to timely report or give notice of the allegations upon which they

base their Complaint to University and/or failed to avail themselves of University’s internal

procedures, means, or methods relating to violations, grievances, complaints, or disputes.

          2.   To the extent Plaintiffs and/or putative class members allege that any employee of

University acted in an unlawful manner, such conduct, if it occurred, was outside the course and

scope of that individual’s employment, was not authorized or condoned by University, and was

undertaken without the knowledge or consent of University. Thus, University is not liable for

any such conduct, if it occurred.

          3.   Plaintiffs’ claims cannot be properly joined with the claims of any potential class

members.

          4.   Some or all of Plaintiffs lack standing to bring claims on behalf of, and may not

represent, putative class action members, in whole or in part, with respect to the asserted class

claims.

          5.   University’s actions toward Plaintiffs were taken based upon legitimate, non-

discriminatory reasons.

          6.   University asserts that even if some impermissible motive were a factor in any

employment decision concerning Plaintiffs and/or putative class members, a claim that

University expressly denies, the same decision(s) would have been reached for legitimate

business reasons.

          7.   The claims of Plaintiffs and the putative class members fail, in whole or in part,

because University takes and/or took reasonable steps to prevent and promptly correct any form

of discrimination, harassment, retaliation or any other conduct alleged to violate any other




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applicable law (such alleged discrimination, harassment, retaliation or other alleged unlawful

conduct is denied), and Plaintiffs and the putative class members unreasonably failed to avail

themselves of University’s preventative and/or corrective measures or to otherwise avoid harm,

including but not limited to, such measures set forth in University’s policies and procedures.

       8.      Plaintiffs and/or the putative class members are not entitled to punitive damages

because University made good faith efforts to comply with all applicable laws.

       9.      The claims of Plaintiffs and of the putative class members for relief are barred to

the extent they have failed to mitigate their alleged damages. Alternatively, to the extent that

Plaintiffs and the putative class members have mitigated their alleged damages, University is

entitled to offset those amounts from any alleged damages

       10.     To the extent that each Plaintiff failed to exhaust his administrative remedies, or

otherwise fulfill any pre-suit requisites, each of those unexhausted claims must be dismissed.

       11.     To the extent that the putative class members failed to exhaust their administrative

remedies, or otherwise, fulfill any pre-suit requisites, each of those unexhausted claims must be

dismissed.

       12.     Plaintiffs cannot recover under Title VII for any act which occurred more than

300 days before they filed their charges with the Equal Employment Opportunity Commission.

       13.     The claims of Plaintiffs and the putative class members are barred to the extent

that they are outside of the applicable statute of limitations.

       14.     This case may not be maintained as a class action because Plaintiffs cannot

establish the existence of each of the requirements under Federal Rule of Civil Procedure 23 and

other relevant legal authority. University specifically maintains that Plaintiffs’ pleadings fail to

meet the requirements necessary to justify a class action.




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       15.     Subject to proof through discovery, some or all of Plaintiffs’ and/or class

members’ claims are barred by the doctrines of estoppel, res judicata, collateral estoppel, quasi-

estoppel, and/or equitable estoppel or barred in whole or in part because such claims have been

discharged and/or abandoned.



                                                   Respectfully submitted,

                                                   THE BOARD OF TRUSTEES OF THE
                                                   UNIVERSITY OF ILLINOIS



                                                   By: /s/ James A. Kilcup
                                                       One of its Attorneys

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                                  CERTIFICATE OF SERVICE

       I, James A. Kilcup, certify that on Friday, September 27, 2019, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by operation of the

Court’s electronic filing system. Parties may also access this filing through the Court’s ECF

system.




                                                         By: /s/ James A. Kilcup




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